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 Fill in this information to identify your case:

     United States Bankruptcy Court for the:
     Eastern District of North
     ________________          Carolina
                           District of ________

     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                               Chapter 11
                                                               Chapter 12
                                                            ✔
                                                               Chapter 13                                                Check if this is an
                                                                                                                             amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                         12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                         About Debtor 1:                                            About Debtor 2 (Spouse Only in a Joint Case):
1.     Your full name
       Write the name that is on your
       government-issued picture
                                         Lent
                                         __________________________________________________         Deltarina
                                                                                                    __________________________________________________
                                         First name                                                 First name
       identification (for example,
       your driver’s license or          Christopher
                                         __________________________________________________         V.
                                                                                                    __________________________________________________
       passport).                        Middle name                                                Middle name

       Bring your picture                Carr
                                         __________________________________________________         Carr
                                                                                                    __________________________________________________
       identification to your meeting    Last name                                                  Last name
       with the trustee.                 II
                                         ___________________________                                ___________________________
                                         Suffix (Sr., Jr., II, III)                                 Suffix (Sr., Jr., II, III)




2.     All other names you               __________________________________________________         Deltarina
                                                                                                    __________________________________________________
       have used in the last 8           First name                                                 First name
       years                                                                                        V.
                                         __________________________________________________         __________________________________________________
       Include your married or           Middle name                                                Middle name
       maiden names.                     __________________________________________________         Diaz
                                                                                                    __________________________________________________
                                         Last name                                                  Last name

                                         __________________________________________________         __________________________________________________
                                         First name                                                 First name

                                         __________________________________________________         __________________________________________________
                                         Middle name                                                Middle name
                                         __________________________________________________         __________________________________________________
                                         Last name                                                  Last name




3.     Only the last 4 digits of
       your Social Security              xxx      – xx – ____
                                                           9 ____
                                                               5 ____
                                                                  5 ____
                                                                      9                            xxx    – xx – ____
                                                                                                                   6 ____
                                                                                                                       5 ____
                                                                                                                          2 ____
                                                                                                                              7
       number or federal                 OR                                                        OR
       Individual Taxpayer
       Identification number             9 xx – xx – ____ ____ ____ ____                           9 xx – xx – ____ ____ ____ ____
       (ITIN)

Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
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Debtor 1        Lent   Christopher Carr II
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                         
                                           ✔ I have not used any business names or EINs.                
                                                                                                        ✔ I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           3300 Laurinburg Rd
                                           _________________________________________________            3300 Laurinburg Rd
                                                                                                        _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                            Raeford                         NC      28376
                                           _________________________________________________             Raeford                         NC      28376
                                                                                                        _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                            Hoke
                                           _________________________________________________             Hoke
                                                                                                        _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                            Over the last 180 days before filing this petition,         Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.
                                           ✔ I have another reason. Explain.
                                                                                                       ✔ I have another reason. Explain.
                                                                                                        
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              Own property in district. File in this
                                              ________________________________________                     Spouse is filing in district. File in this
                                                                                                           ________________________________________
                                              district out of convenience and belief
                                              ________________________________________                     district out of convenience and belief
                                                                                                           ________________________________________
                                              that creditors do not object thereto.
                                              ________________________________________                     that creditors do not object thereto.
                                                                                                           ________________________________________
                                              ________________________________________                     ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1        Lent   Christopher Carr II
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                            Chapter 7
                                            Chapter 11
                                            Chapter 12
                                           
                                           ✔ Chapter 13


8.    How you will pay the fee              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                           
                                           ✔ I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   
                                           ✔ No
      bankruptcy within the
      last 8 years?                         Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   
                                           ✔ No
      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                     ✔ No.
                                                    Go to line 12.
      residence?                            Yes.    Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1         Lent Christopher Carr II
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                ✔ No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?                                   ✔ No.
                                                        I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                     No
                                                ✔
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1         Lent Christopher Carr II
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             ✔ I received a briefing from an approved credit                    
                                                                                                                ✔ I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
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Debtor 1        Lent Christopher Carr II
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                ✔   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                           
                                           ✔ No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                     No
      administrative expenses
      are paid that funds will be                      Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           ✔ 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                           
                                           ✔ $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                      
                                           ✔ $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                            /s/ Lent C. Carr II
                                              ______________________________________________               _____________________________
                                                                                                            /s/ Deltarina Carr
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          03/20/2018
                                              Executed on _________________                                                03/20/2018
                                                                                                               Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1     Lent Christopher Carr II
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        _________________________________
                                         /s/ Erich M. Fabricius                                             Date           03/20/2018
                                                                                                                           _________________
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           Erich M. Fabricius
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Fabricius & Fabricius PLLC
                                           _________________________________________________________________________________________________
                                           Firm name

                                           PO Box 1230
                                           _________________________________________________________________________________________________
                                           Number Street

                                           _________________________________________________________________________________________________

                                           Knightdale
                                           ______________________________________________________ NC
                                                                                                  ____________ 27545
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (919) 295-6001
                                           Contact phone _____________________________________             Email address   emf@fabriciuslaw.com
                                                                                                                            ______________________________




                                           39667
                                           ______________________________________________________ NC
                                                                                                  ____________
                                           Bar number                                             State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
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 Fill in this information to identify your case:

 Debtor 1              Lent Christopher Carr II
                       First Name      Middle Name       Last Name

 Debtor 2              Deltarina V. Carr
 (Spouse, if filing)   First Name      Middle Name       Last Name

 United States Bankruptcy Court for the:       Eastern District of North Carolina
                                                                                                             Check if this is:
 Case number
                                                                                                               An amended filing
 (if known)




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain
Statistical Information
                                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original
forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:         Summarize Your Assets

                                                                                                                                           Your Assets
                                                                                                                                           Value of what you own
  1. Schedule A/B: Property (Official Form 106A/B)
     1a. Copy line 55, Total real estate, from Schedule A/B                                                                         1a.      $      567,629.49
      1b. Copy line 62, Total personal property, from Schedule A/B                                                                           $         6,503.49
                                                                                                                                    1b.
      1c. Copy line 63, Total of all property on Schedule A/B
                                                                                                                                    1c.      $      574,132.98


 Part 2:         Summarize Your Liabilities

                                                                                                                                           Your Liabilities
                                                                                                                                           Value of what you owe
  2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D             2a.      $       18,273.81
  2. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F                                 3a.      $              0.00
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F
                                                                                                                                    3b. + $          19,734.00

                                                                                                                  Your total liabilities     $       38,007.81


 Part 3:         Summarize Your Income and Expenses

  4. Schedule I: Your Income (Official Form 106I)                                                                                            $
                                                                                                                                      4.               5,717.00
     Copy your combined monthly income from line 12 of Schedule I
  5. Schedule J: Your Expenses (Official Form 106J)                                                                                          $
                                                                                                                                      5.               3,534.04
     Copy your monthly expenses from line 22c of Schedule J




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                                       page 1
Debtor 1            Lent Christopher Carr II
                                              Case 18-80386                   Doc 1           Filed 03/20/18   Page 9 of 68
                                                                                                          Case number (if known)
                    First Name         Middle Name             Last Name

 Part 4:       Answer These Questions for Administrative and Statistical Records

 6. Are you filing for bankruptcy under Chapter 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes

 7. What kind of debt do you have?

      Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or household purpose.” 11 U.S.C. § 101(8). Fill out
   lines 8-9g for statistical purposes. 28 U.S.C. § 159.
      Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

 8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form 122A-1 Line 11; OR, Form 122B Line 11;
     OR, Form 122C-1 Line 14.                                                                                                                                          $         3,000.00

 9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                                                                                   Total claim
 From Part 4 on Schedule E/F, copy the following:
  9a. Domestic support obligations. (Copy line 6a.)                                                                                                          9a.      $              0.00
   9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                                                 9b.      $              0.00
   9c. Claims for death or personal injury while you were Intoxicated. (Copy line 6c.)                                                                       9c.      $              0.00
   9d. Student loans. (Copy line 6f.)                                                                                                                        9d.      $              0.00
   9e. Obligations arising out of a separation agreement or divorce that you did not report as priority claims. (Copy line 6g.)                              9e.      $              0.00
   9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)
                                                                                                                                                              9f. + $                0.00
   9g. Total Add lines 9a through 9f.
                                                                                                                                                             9g.      $              0.00




Official Form 106Sum                          Summary of Your Assets and Liabilities and Certain Statistical Information                                                             page 2
                                               Case 18-80386                 Doc 1       Filed 03/20/18               Page 10 of 68

 Fill in this information to identify your case:

 Debtor 1               Lent Christopher Carr II
                        First Name            Middle Name        Last Name

 Debtor 2               Deltarina V. Carr
 (Spouse, if filing)    First Name            Middle Name        Last Name


 United States Bankruptcy Court for the:                Eastern District of North Carolina
                                                                                                                         Check if this is:
 Case number
                                                                                                                           An amended filing
 (if known)




Official Form 106A/B
Schedule A/B: Property                                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

      No. Go to Part 2
      Yes. Where is the property?
1.1     3300 Laurinburg Rd                                           What is the property? Check all that apply.
                                                                                                                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description            Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
                                                                      Duplex or multi-unit building                           Creditors Who Have Claims Secured by Property.
                                                                      Condominium or cooperative
         Raeford, NC 28376                                            Manufactured or mobile home                         Current value of the       Current value of the
         City                    State    ZIP Code                    Land                                                entire property?           portion you own?
                                                                      Investment property
         Hoke
                                                                      Timeshare
                                                                                                                             $     451,000.00            $     451,000.00
         County
                                                                      Other
                                                                                                                          Describe the nature of your ownership
                                                                     Who has an interest in the property? Check one
                                                                      Debtor 1 only
                                                                                                                          interest (such as fee simple, tenancy by the
                                                                      Debtor 2 only                                       entireties, or a life estate), if known.
                                                                      Debtor 1 and Debtor 2 only                          Fee Simple
                                                                      At least one of the debtors and another               Check if this is community property
                                                                                                                            (see instructions)
                                                                    Other information you wish to add about this item, such as local property identification
                                                                    number:
1.2      4160 Laurinburg Rd.                                         What is the property? Check all that apply.
                                                                                                                              Do not deduct secured claims or exemptions. Put
         Street address, if available, or other description           Single-family home
                                                                                                                              the amount of any secured claims on Schedule D:
                                                                      Duplex or multi-unit building                           Creditors Who Have Claims Secured by Property.
                                                                      Condominium or cooperative
         Raeford, NC 28376                                            Manufactured or mobile home                         Current value of the       Current value of the
         City                    State    ZIP Code                    Land                                                entire property?           portion you own?
                                                                      Investment property
         Hoke
                                                                      Timeshare
                                                                                                                             $       76,240.00           $        76,240.00
         County
                                                                      Other
                                                                                                                          Describe the nature of your ownership
                                                                     Who has an interest in the property? Check one
                                                                      Debtor 1 only                                       interest (such as fee simple, tenancy by the
                                                                      Debtor 2 only                                       entireties, or a life estate), if known.
                                                                      Debtor 1 and Debtor 2 only                          Fee Simple subject to potential competing
                                                                      At least one of the debtors and another             estate claims
                                                                                                                            Check if this is community property
                                                                                                                            (see instructions)
                                                                    Other information you wish to add about this item, such as local property identification
                                                                    number:




Official Form 106A/B                                                          Schedule A/B: Property                                                                      page 1
Debtor 1             Lent Christopher Carr II
                                              Case 18-80386                 Doc 1        Filed 03/20/18   Page 11 of 68
                                                                                                      Case number (if known)
                     First Name          Middle Name          Last Name

1.3     4185 Martin Luther King Jr St                               What is the property? Check all that apply.
                                                                                                                                   Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description           Single-family home
                                                                                                                                   the amount of any secured claims on Schedule D:
                                                                     Duplex or multi-unit building                                 Creditors Who Have Claims Secured by Property.
                                                                     Condominium or cooperative
        Ayden, NC 28513                                              Manufactured or mobile home                               Current value of the         Current value of the
        City                    State    ZIP Code                    Land                                                      entire property?             portion you own?
                                                                     Investment property
        Pitt
                                                                     Timeshare
                                                                                                                                  $        19,882.98           $         3,313.83
        County
                                                                     Other
                                                                                                                               Describe the nature of your ownership
                                                                    Who has an interest in the property? Check one
                                                                     Debtor 1 only
                                                                                                                               interest (such as fee simple, tenancy by the
                                                                     Debtor 2 only                                             entireties, or a life estate), if known.
                                                                     Debtor 1 and Debtor 2 only                                1/6 interest as Tenants in Common
                                                                     At least one of the debtors and another                     Check if this is community property
                                                                                                                                 (see instructions)
                                                                   Other information you wish to add about this item, such as local property identification
                                                                   number:
1.4     4895 Gum Swamp Rd.                                          What is the property? Check all that apply.
                                                                                                                                   Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description           Single-family home
                                                                                                                                   the amount of any secured claims on Schedule D:
                                                                     Duplex or multi-unit building                                 Creditors Who Have Claims Secured by Property.
                                                                     Condominium or cooperative
        Ayden, NC 28513                                              Manufactured or mobile home                               Current value of the         Current value of the
        City                    State    ZIP Code                    Land                                                      entire property?             portion you own?
                                                                     Investment property
        Pitt
                                                                     Timeshare
                                                                                                                                  $        48,453.96           $         8,075.66
        County
                                                                     Other
                                                                                                                               Describe the nature of your ownership
                                                                    Who has an interest in the property? Check one
                                                                     Debtor 1 only                                             interest (such as fee simple, tenancy by the
                                                                     Debtor 2 only                                             entireties, or a life estate), if known.
                                                                     Debtor 1 and Debtor 2 only                                1/6 interest as Tenants in Common
                                                                     At least one of the debtors and another                     Check if this is community property
                                                                                                                                 (see instructions)
                                                                   Other information you wish to add about this item, such as local property identification
                                                                   number:
1.5     521 Gatlin Farm Rd.                                         What is the property? Check all that apply.
                                                                                                                                   Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description           Single-family home
                                                                                                                                   the amount of any secured claims on Schedule D:
                                                                     Duplex or multi-unit building                                 Creditors Who Have Claims Secured by Property.
                                                                     Condominium or cooperative
        Raeford, NC 28376                                            Manufactured or mobile home                               Current value of the         Current value of the
        City                    State    ZIP Code                    Land                                                      entire property?             portion you own?
                                                                     Investment property
        Hoke
                                                                     Timeshare
                                                                                                                                  $        29,000.00           $       29,000.00
        County
                                                                     Other
                                                                                                                               Describe the nature of your ownership
                                                                    Who has an interest in the property? Check one
                                                                     Debtor 1 only
                                                                                                                               interest (such as fee simple, tenancy by the
                                                                     Debtor 2 only                                             entireties, or a life estate), if known.
                                                                     Debtor 1 and Debtor 2 only                                Fee Simple
                                                                     At least one of the debtors and another                     Check if this is community property
                                                                                                                                 (see instructions)
                                                                   Other information you wish to add about this item, such as local property identification
                                                                   number:
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.                                                                                                          $      567,629.49


 Part 2:         Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that someone else drives. If you lease a
 vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

      No
      Yes
3.1     Make:                Infiniti                               Who has an interest in the property? Check one
                                                                                                                                   Do not deduct secured claims or exemptions. Put
                                                                     Debtor 1 only
        Model:                                                                                                                     the amount of any secured claims on Schedule D:
                             Q45                                     Debtor 2 only                                                 Creditors Who Have Claims Secured by Property.
        Year:                1997                                    Debtor 1 and Debtor 2 only
                                                                     At least one of the debtors and another                   Current value of the         Current value of the
        Approximate mileage: 179,300 miles                                                                                     entire property?             portion you own?
        Other Information:                                              Check if this is community property
                                                                        (see instructions)                                        $         2,600.00           $         2,600.00
            Valuation: NADA Low Retail

3.2     Make:                Dodge                                  Who has an interest in the property? Check one
                                                                                                                                   Do not deduct secured claims or exemptions. Put
                                                                     Debtor 1 only
        Model:                                                                                                                     the amount of any secured claims on Schedule D:
                             Caravan                                 Debtor 2 only                                                 Creditors Who Have Claims Secured by Property.
        Year:                2005                                    Debtor 1 and Debtor 2 only
                                                                     At least one of the debtors and another                   Current value of the         Current value of the
        Approximate mileage: 136,942 miles                                                                                     entire property?             portion you own?
        Other Information:                                              Check if this is community property
                                                                        (see instructions)                                        $         1,200.00           $         1,200.00
            Valuation: NADA Average Trade



Official Form 106A/B                                                          Schedule A/B: Property                                                                             page 2
Debtor 1
                                           Case 18-80386
                    Lent Christopher Carr II
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                                                                                                      Case number (if known)
                    First Name        Middle Name            Last Name

3.3     Make:                                                       Who has an interest in the property? Check one
                                                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                     Debtor 1 only
        Model:                                                                                                                      the amount of any secured claims on Schedule D:
                                                                     Debtor 2 only                                                  Creditors Who Have Claims Secured by Property.
        Year:                                                        Debtor 1 and Debtor 2 only
        Approximate mileage:                                         At least one of the debtors and another                    Current value of the         Current value of the
                                                                                                                                entire property?             portion you own?
        Other Information:                                            Check if this is community property
                                                                      (see instructions)                                           $                            $

3.4     Make:                                                       Who has an interest in the property? Check one
                                                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                     Debtor 1 only
        Model:                                                                                                                      the amount of any secured claims on Schedule D:
                                                                     Debtor 2 only                                                  Creditors Who Have Claims Secured by Property.
        Year:                                                        Debtor 1 and Debtor 2 only
        Approximate mileage:                                         At least one of the debtors and another                    Current value of the         Current value of the
                                                                                                                                entire property?             portion you own?
        Other Information:                                            Check if this is community property
                                                                      (see instructions)                                           $                            $

 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessoriesExamples: Boats, trailers, motors, personal watercraft, fishing vessels,
 snowmobiles, motorcycle accessories

      No
      Yes
4.1     Make:                                                       Who has an interest in the property? Check one
                                                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                     Debtor 1 only
        Model:                                                                                                                      the amount of any secured claims on Schedule D:
                                                                     Debtor 2 only                                                  Creditors Who Have Claims Secured by Property.
        Year:                                                        Debtor 1 and Debtor 2 only
                                                                     At least one of the debtors and another                    Current value of the         Current value of the
        Other Information:
                                                                                                                                entire property?             portion you own?
                                                                     Check if this is community property
                                                                     (see instructions)                                            $                            $
4.2     Make:                                                       Who has an interest in the property? Check one
                                                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                     Debtor 1 only
        Model:                                                                                                                      the amount of any secured claims on Schedule D:
                                                                     Debtor 2 only                                                  Creditors Who Have Claims Secured by Property.
        Year:                                                        Debtor 1 and Debtor 2 only
        Other Information:                                           At least one of the debtors and another                    Current value of the         Current value of the
                                                                                                                                entire property?             portion you own?
                                                                      Check if this is community property
                                                                      (see instructions)                                           $                            $
 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
    you have attached for Part 2. Write that number here.                                                                                                           $         3,800.00




Official Form 106A/B                                                         Schedule A/B: Property                                                                               page 3
Debtor 1
                                          Case 18-80386
                   Lent Christopher Carr II
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                                                                                                     Case number (if known)
                   First Name        Middle Name            Last Name

 Part 3:      Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                             Current value of the portion
                                                                                                                              you own?
                                                                                                                              Do not deduct secured claims or
                                                                                                                              exemptions.


 6. Household goods and furnishings
    Examples: Major appliances, furniture, linens, china, kitchenware
       No
       Yes. Describe . . . . . Air Conditioners (100.00); Bedroom Furniture (75.00); Dining Room Furniture (95.00);                          $          1,290.00
                               Dishwasher (50.00); Dryer (30.00); Freezer (85.00); Living Room Furniture (100.00);
                               Microwave (20.00); Miscellaneous household goods and sundries (150.00); Other Kitchen
                               Appliances (300.00); Paintings, Art, Rugs (50.00); Refrigerator (75.00); Stove (50.00);
                               Tableware (80.00); Washing Machine (30.00)
 7. Electronics
    Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
    electronic devices including cell phones, cameras, media players, games
       No
       Yes. Describe . . . . . Computers (100.00); DVD/VCR (20.00); Stereos (32.00); Television(s) (100.00)                                  $            252.00
 8. Collectibles of value
    Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
    stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       No
       Yes. Describe . . . . .                                                                                                               $                  0.00
 9. Equipment for sports and hobbies
    Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
    canoes and kayaks; carpentry tools; musical instruments
      No
      Yes. Describe . . . . . Musical Instruments (15.00); Recreational Equipment (5.00)                                                     $              20.00
 10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       No
       Yes. Describe . . . . .                                                                                                               $                  0.00
 11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
       Yes. Describe . . . . . Clothing & Personal Affects
                                                                                                                                             $            960.00
 12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches,
    gems, gold, silver
      No
      Yes. Describe . . . . . Jewelry                                                                                                        $              15.00
 13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe . . . . . Pets
                                                                                                                                             $              75.00
 14. Any other personal and household items you did not already list, including any health aids you did not list

       No
       Yes. Give specific
                                                                                                                                             $              10.00
    information . . . . . Yard Tools

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
    you have attached for Part 3. Write that number here.                                                                                        $        2,622.00




Official Form 106A/B                                                        Schedule A/B: Property                                                              page 4
Debtor 1
                                     Case 18-80386
                 Lent Christopher Carr II
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                                                                                         Case number (if known)
                 First Name     Middle Name         Last Name

 Part 4:    Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                   Current value of the portion
                                                                                                                              you own?
                                                                                                                              Do not deduct secured claims or
                                                                                                                              exemptions.


 16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes. . . . . .
                                Cash: . . . . . . .                                                                                          $              15.00
 17. Deposits of Money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
    and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
      Yes. . . . . .                                                                       Institution name:
                                   17.1. Checking account:                              NCSECU Checking 2783                                 $                  9.14

                                   17.2. Checking account:                              NCSECU Checking 1592                                 $              19.26

                                   17.3. Savings account:                               NCSECU Shares 2783                                   $              38.15

                                   17.4. Savings account:                               NCSECU Shares 1592                                   $              14.94

                                   17.5. Certificates of deposit:                                                                            $

                                   17.6. Other financial account:                                                                            $

                                   17.7. Other financial account:                                                                            $

                                   17.8. Other financial account:                                                                            $

                                   17.9. Other financial account:                                                                            $
 18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes. . . . . .             Institution or issuer name:
                                                                                                                                             $

                                                                                                                                             $

                                                                                                                                             $
 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
       No
       Yes. Give specific information about them. . . . . .
                                    Name of entity:                         % of ownership:
                                                                                                                                             $

                                                                                                                                             $

                                                                                                                                             $




Official Form 106A/B                                                Schedule A/B: Property                                                                      page 5
Debtor 1
                                      Case 18-80386
                 Lent Christopher Carr II
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                                                                                           Case number (if known)
                 First Name      Middle Name         Last Name

 20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them. . . . . .
                                   Issuer name:
                                                                                                                                   $

                                                                                                                                   $

                                                                                                                                   $
 21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans.
      No
      Yes. List each account separately. . . . . .
                                  Type of account:                                         Institution name:
                                    401(k) or similar plan:                                                                        $

                                    Pension plan:                                                                                  $

                                    IRA:                                                                                           $

                                    Retirement account:                                                                            $

                                    Keogh:                                                                                         $

                                    Additional account:                                                                            $

                                    Additional account:                                                                            $
 22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water),
    telecommunications companies, or others
       No
       Yes. . . . . .                                                                   Institution name or individual:
                                    Electric:                                                                                      $

                                    Gas:                                                                                           $

                                    Heating oil:                                                                                   $

                                    Security deposit on rental unit:                                                               $

                                    Prepaid rent:                                                                                  $

                                    Telephone:                                                                                     $

                                    Water:                                                                                         $

                                    Rented furniture:                                                                              $

                                    Other:                                                                                         $
 23. Annuities
    (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes. . . . . .              Issuer name and description:
                                                                                                                                   $

                                                                                                                                   $

                                                                                                                                   $




Official Form 106A/B                                               Schedule A/B: Property                                              page 6
Debtor 1
                                      Case 18-80386
                 Lent Christopher Carr II
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                                                                                           Case number (if known)
                 First Name      Middle Name          Last Name

 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes. . . . . .             Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):
                                                                                                                                               $

                                                                                                                                               $

                                                                                                                                               $
 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them . . . . .                                                                           $           0.00

 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them . . . . .                                                                                      $                  0.00

 27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
       Yes. Give specific information about them . . . . .                                                                                     $                  0.00


Money or property owed to you?                                                                                                  Current value of the portion
                                                                                                                                you own?
                                                                                                                                Do not deduct secured claims or
                                                                                                                                exemptions.


 28. Tax refunds owed to you
       No
       Yes. Give specific information about them, including whether you already filed the returns and the tax years . . . . .
                                    Federal:                                                                                                   $

                                    State:                                                                                                     $

                                    Local:                                                                                                     $
 29. Family Support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information . . . . .
                                    Alimony:                                                                                                   $

                                    Maintenance:                                                                                               $

                                    Support:                                                                                                   $

                                    Divorce settlement:                                                                                        $

                                    Property settlement:                                                                                       $
 30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
    Social Security benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information . . . . .
                                                                                                                                               $                  0.00




Official Form 106A/B                                                Schedule A/B: Property                                                                        page 7
Debtor 1
                                           Case 18-80386
                    Lent Christopher Carr II
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                                                                                                      Case number (if known)
                    First Name        Middle Name            Last Name

 31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
       Yes. Name the insurance company of each policy and list its value . . . . .
                                                                                                                                         Surrender or refund
                                         Company Name:                                                Beneficiary:
                                                                                                                                         value:
                                                                                                                                             $

                                                                                                                                             $

                                                                                                                                             $
 32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled
    to receive property because someone has died.
        No
        Yes. Give specific information . . . . .
                                                                                                                                                 $                0.00

 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue.
      No
      Yes. Describe each claim . . . . .
                                                                                                                                 $                       52,000.00
    Possible claim against Janetta Jordan regarding conversion of truck and misleading debtor
    to issue bad check
 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
      Yes. Describe each claim . . . . .
                                                                                                                                 $                                0.00

 35. Any financial assets you did not already list
      No
      Yes. Give specific information . . . . .
                                                                                                                                                 $                0.00


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages
    you have attached for Part 4. Write that number here.                                                                                            $    52,096.49


 Part 5:      Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37. Do you own or have any legal or equitable interest in any business-related property?

     No. Go to Part 6.
     Yes. Go to line 38.

                                                                                                                                Current value of the portion
                                                                                                                                you own?
                                                                                                                                Do not deduct secured claims or
                                                                                                                                exemptions.


 38. Accounts receivable or commissions you already earned
      No
      Yes. Describe . . . . .
                                                                                                                                                 $                0.00
 39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
      No
      Yes. Describe . . . . .                                                                                                         $                           0.00




Official Form 106A/B                                                         Schedule A/B: Property                                                               page 8
Debtor 1
                                           Case 18-80386
                    Lent Christopher Carr II
                                                                          Doc 1          Filed 03/20/18   Page 18 of 68
                                                                                                      Case number (if known)
                    First Name        Middle Name            Last Name

 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe . . . . .                                                                                                                $                  0.00
 41. Inventory

       No
       Yes. Describe . . . . .
                                                                                                                                              $                  0.00
 42. Interests in partnerships or joint ventures

       No
       Yes. Describe . . . . .           Name of entity:                                        % of ownership
                                                                                                                                              $

                                                                                                                                              $

                                                                                                                                              $
 43. Customer lists, mailing lists, or other compilations
      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?                                    $                  0.00
         No
         Yes. Describe . . . . .

 44. Any business-related property you did not already list

       No
       Yes. Give specific information . . . . .
                                                                                                                                              $

                                                                                                                                              $

                                                                                                                                              $

                                                                                                                                              $

                                                                                                                                              $

                                                                                                                                              $

 45. Add the dollar value of all of your entries from Part 5, including any entries for pages
    you have attached for Part 5. Write that number here.                                                                                         $               0.00


 Part 6:      Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest in farmland, list it in Part 1.
 46. Do you own or have any legal or equitable interest in any farm- or commerical fishing-related property?

     No. Go to Part 7.
     Yes. Go to line 47.

                                                                                                                               Current value of the portion
                                                                                                                               you own?
                                                                                                                               Do not deduct secured claims or
                                                                                                                               exemptions.


 47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
      No
      Yes. Describe . . . . .                                                                                                                 $                  0.00




Official Form 106A/B                                                         Schedule A/B: Property                                                              page 9
Debtor 1             Lent Christopher Carr II
                                               Case 18-80386                 Doc 1       Filed 03/20/18   Page 19 of 68
                                                                                                      Case number (if known)
                     First Name          Middle Name             Last Name

 48. Crops-either growing or harvested
      No
      Yes. Give specific information . . . . .
                                                                                                                                                  $           0.00

 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      No
      Yes. . . . . .
                                                                                                                                                  $           0.00
 50. Farm and fishing supplies, chemicals, and feed
      No
      Yes. . . . . .                                                                                                                              $           0.00
 51. Any farm- and commercial fishing-related property you did not already list
      No
      Yes. Give specific information . . . . .
                                                                                                                                                  $           0.00


 52. Add the dollar value of all of your entries from Part 6, including any entries for pages
    you have attached for Part 6. Write that number here.                                                                                             $         0.00


 Part 7:       Describe All Property You Own or Have an Interest in That You Did Not List Above

 53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club memberships
      No
      Yes. Give specific information . . . . .
                                                                                                                                                  $

                                                                                                                                                  $

                                                                                                                                                  $

 54. Add the dollar value of all of your entries from Part 7. Write that number here.
                                                                                                                                                      $         0.00


 Part 8:       List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2
                                                                                                                                                      $   567,629.49

 56. Part 2: Total vehicles, line 5                                                             $    3,800.00


 57. Part 3: Total personal and household items, line 15                                        $    2,622.00


 58. Part 4: Total financial assets, line 36                                                    $   52,096.49


 59. Part 5: Total business-related property, line 45                                           $        0.00


 60. Part 6: Total farm- and fishing-related property, line 52                                  $        0.00


 61. Part 7: Total other property not listed, line 54                                           $        0.00


 63. Total personal property. Add lines 56 through 61.
                                                                                                                 . Copy personal property total
                                                                                                $   58,518.49                                         $    58,518.49
 63. Total of all property on Schedule A/B. Add line 55 + line 62.
                                                                                                                                                      $   626,147.98




Official Form 106A/B                                                          Schedule A/B: Property                                                          page 10
Rev. 12/2009                         Case 18-80386              Doc 1        Filed 03/20/18          Page 20 of 68
                                                 UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF NORTH CAROLINA
                                                         RALEIGH DIVISION

IN RE:                                                                                         CASE NUMBER:

     LENT C. CARR, II
     DELTARINA CARR
                                       DEBTOR(S)
                                               SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT
      I, Lent C. Carr, II , claim the following property as exempt pursuant to 11 U.S.C. § 522 and the laws of the State of North Carolina, and nonbankruptcy
Federal law: (Attach additional sheets if necessary).
       1. NCGS 1C-1601(a)(1) (NC Const., Article X, Section 2) REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT (The
exemption is not to exceed $35,000; however, an unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in the property not
to exceed $60,000 in value so long as the property was previously owned by the debtor as a tenant by the entireties or as a joint tenant with rights of
survivorship and the former co-owner of the property is deceased, in which case the debtor must specify his/her age and the name of the former co-owner, if a
child use initials only, of the property below).

                                                                                                                                               Value Claimed
                                                               Owner
                                                                                                                                                as Exempt
                                                 Market     (H)Husband     Mortgage Holder or Lien     Amount of Mortgage or
    Description of Property and Address                                                                                          Net Value      Pursuant to
                                                 Value        (W)Wife             Holder                       Lien
                                                                                                                                                NCGS 1C-
                                                              (J)Joint
                                                                                                                                                 1601(a)(1)
3300 Laurinburg Rd, Raeford, NC 28376                                    Hoke County Tax
(Hoke)
                                               451,000.00        1       Collector
                                                                                                                     13,053.94 437,946.06            35,000.00


Debtor’s Age:
Name of former co-owner:

                                                     VALUE OF REAL ESTATE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(1): $ 35,000 .00

      2. NCGS 1C-1601(a)(3) MOTOR VEHICLE (The exemption in one vehicle is not to exceed $3,500).

                                                                                                                                               Value Claimed
                                                               Owner
                                                                                                                                                as Exempt
                                                            (H)Husband
      Model, Year Style of Auto           Market Value                           Lien Holder              Amount of Lien        Net Value       Pursuant to
                                                              (W)Wife
                                                                                                                                                NCGS 1C-
                                                              (J)Joint
                                                                                                                                                 1601(a)(3)
1997 Infiniti Q45                                2,600.00       1        Hicks Motor Sales                          1,200.00       1,400.00           3,500.00

                                                   VALUE OF MOTOR VEHICLE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(3): $ 3,500 .00
                                   Case
      3. NCGS 1C-1601(a)(4) (NC Const.,      18-80386
                                          Article X, Section 1) Doc  1 Filed
                                                                PERSONAL            03/20/18GOODS
                                                                            OR HOUSEHOLD            Page
                                                                                                       (The21   of 68
                                                                                                            debtor’s aggregate interest is not to exceed
$5,000 plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents). The number of dependents for exemption purposes is 2 .

                                                                                                                                             Value Claimed
                                                                                    Owner
                                                                                                                                              as Exempt
                                                                                 (H)Husband
                      Description of Property                       Market Value            Lien Holder Amount of Lien Net Value              Pursuant to
                                                                                   (W)Wife
                                                                                                                                              NCGS 1C-
                                                                                   (J)Joint
                                                                                                                                               1601(a)(4)
Air Conditioners (50% owner)                                               100.00       J      None                     0.00      50.00               50.00
Bedroom Furniture (50% owner)                                               75.00       J      None                     0.00      37.50               37.50
Clothing & Personal Affects (50% owner)                                    960.00       J      None                     0.00     480.00              480.00
Computers (50% owner)                                                      100.00       J      None                     0.00      50.00               50.00
Dining Room Furniture (50% owner)                                           95.00       J      None                     0.00      47.50               47.50
Dishwasher (50% owner)                                                      50.00       J      None                     0.00      25.00               25.00
Dryer (50% owner)                                                           30.00       J      None                     0.00      15.00               15.00
DVD/VCR (50% owner)                                                         20.00       J      None                     0.00      10.00               10.00
Freezer (50% owner)                                                         85.00       J      None                     0.00      42.50               42.50
Jewelry (50% owner)                                                         15.00       J      None                     0.00          7.50             7.50
Living Room Furniture (50% owner)                                          100.00       J      None                     0.00      50.00               50.00
Microwave (50% owner)                                                       20.00       J      None                     0.00      10.00               10.00
Miscellaneous household goods and sundries (50% owner)                     150.00       J      None                     0.00      75.00               75.00
Musical Instruments (50% owner)                                             15.00       J      None                     0.00          7.50             7.50
Other Kitchen Appliances (50% owner)                                       300.00       J      None                     0.00     150.00              150.00
Paintings, Art, Rugs (50% owner)                                            50.00       J      None                     0.00      25.00               25.00
Pets (50% owner)                                                            75.00       J      None                     0.00      37.50               37.50
Recreational Equipment (50% owner)                                           5.00       J      None                     0.00          2.50             2.50
Refrigerator (50% owner)                                                    75.00       J      None                     0.00      37.50               37.50
Stereos (50% owner)                                                         32.00       J      None                     0.00      16.00               16.00
Stove (50% owner)                                                           50.00       J      None                     0.00      25.00               25.00
Tableware (50% owner)                                                       80.00       J      None                     0.00      40.00               40.00
Television(s) (50% owner)                                                  100.00       J      None                     0.00      50.00               50.00
Washing Machine (50% owner)                                                 30.00       J      None                     0.00      15.00               15.00
Yard Tools (50% owner)                                                      10.00       J      None                     0.00          5.00             5.00

                                                                        VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(4) : $ 1,311 .00

      4. NCGS 1C-1601(a)(5) TOOLS OF TRADE (The debtor’s aggregate interest is not to exceed $2,000 in value).

                                                                                                                                             Value Claimed
                                                     Owner
                                                                                                                                              as Exempt
                                                  (H)Husband
      Description             Market Value                          Lien Holder               Amount of Lien              Net Value           Pursuant to
                                                    (W)Wife
                                                                                                                                              NCGS 1C-
                                                    (J)Joint
                                                                                                                                               1601(a)(5)




                                                                            VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS-1C-1601(a)(5): $ 0 .00
                                  Case 18-80386
      5. NCGS 1C-1601(a)(6) LIFE INSURANCE              DocX,1Section
                                           (NC Const., Article   Filed5)             03/20/18        Page 22 of 68
    Description       Insured             Last Four Digits of Policy Number                      Beneficiary (if child, initials only)          Cash Value




      6. NCGS 1C-1601(a)(7) PROFESSIONALLY PRESCRIBED HEALTH AIDS (For Debtor or Debtor’s Dependents, no limit on value).

                                                                         Description




    7. NCGS 1C-1601(a)(8) COMPENSATION FOR PERSONAL INJURY, INCLUDING COMPENSATION FROM PRIVATE DISABILITY POLICIES OR
ANNUITIES, OR COMPENSATION FOR DEATH OF A PERSON UPON WHOM THE DEBTOR WAS DEPENDENT FOR SUPPORT. COMPENSATION NOT
EXEMPT FROM RELATED LEGAL, HEALTH OR FUNERAL EXPENSE.

 Description       Source of Compensation, Including Name (If child, initials only) & Last Four Digits of Account Number of any Disability Policy/Annuity




     8. NCGS 1C-1601(a)(2) ANY PROPERTY [Debtor’s aggregate interest in any property is not to exceed $5,000 in value of any unused exemption
amount to which the debtor is entitled under NCGS 1C-1601(a)(1)].

                                                                                                                                                Value Claimed
                                                                           Owner
                                                                                                                                                 as Exempt
                                                                        (H)Husband
       Description of Property and Address            Market Value                     Lien Holder         Amount of Lien           Net Value    Pursuant to
                                                                          (W)Wife
                                                                                                                                                 NCGS 1C-
                                                                          (J)Joint
                                                                                                                                                  1601(a)(2)




                                                                              VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS-1C-1601(a)(2): $ 0 .00

       9. NCGS 1C-1601(a)(9) and 11 U.S.C. § 522 INDIVIDUAL RETIREMENT PLANS & RETIREMENT FUNDS, as defined in the Internal Revenue Code,
and any plan treated in the same manner as an individual retirement plan, including individual retirement accounts and Roth retirement accounts as described
in §§ 408(a) and 408A of the Internal Revenue Code, individual retirement annuities as described in § 408(b) of the Internal Revenue Code, accounts
established as part of a trust described in § 408(c) of the Internal Revenue Code, and funds in an account exempt from taxation under § 401, 403, 408, 408A,
414, 457, or 510(a) of the Internal Revenue Code. For purposes of this subdivision, “Internal Revenue Code” means Code as defined in G.S. 105-228.90.

          Type of Account                       Location of Account                                   Last Four Digits of Account Number
       10. NCGS 1C-1601(a)(10) FUNDS     CaseIN A18-80386
                                                  COLLEGE SAVINGS  DocPLAN,
                                                                        1 as  Filed    03/20/18
                                                                                 qualified              Page
                                                                                           under § 529 of         23 of
                                                                                                           the Internal   68 Code, and that are not otherwise
                                                                                                                        Revenue
excluded from the estate pursuant to 11 U.S.C. §§ 541(b)(5)-(6), (e), not to exceed a cumulative limit of $25,000. If funds were placed in a college savings plan
within the 12 months prior to filing, the contributions must have been made in the ordinary course of the debtor’s financial affairs and must have been
consistent with the debtor’s past pattern of contributions. The exemption applies to funds for a child of the debtor that will actually be used for the child’s
college or university expenses.

         College Savings Plan                        Last Four Digits of Account Number                 Value              Initials of Child Beneficiary




      11. NCGS 1C-1601(a)(11) RETIREMENT BENEFITS UNDER THE RETIREMENT PLANS OF OTHER STATES AND GOVERNMENTAL UNITS OF
OTHER STATES (The debtor’s interest is exempt only to the extent that these benefits are exempt under the laws of the state or governmental unit under
which the benefit plan is established).

           Name of Retirement Plan                       State Governmental Unit                           Last Four Digits of Identifying Number




      12. NCGS 1C-1601(a)(12) ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT HAVE BEEN
RECEIVED OR TO WHICH THE DEBTOR IS ENTITLED (The debtor’s interest is exempt to the extent the payments or funds are reasonably necessary for the
support of the debtor or any dependent of the debtor).

                       Type of Support                                  Amount                                       Location of Funds


       13. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522 and the law of the State of North Carolina
pertaining to property held as tenants by the entirety.

               Description of Property and Address                     Market Value             Lien Holder            Amount of Lien               Net Value




                                                                                                                       VALUE CLAIMED AS EXEMPT: $ 0 .00

       14. NORTH CAROLINA PENSION FUND EXEMPTIONS

a. North Carolina Local Government Employees Retirement benefits NCGS 128-31
b. North Carolina Teachers and State Employees Retirement benefits NCGS 135-9
c. Firemen’s Relief Fund pensions NCGS 58-86-90
d. Fraternal Benefit Society benefits NCGS 58-24-85
     Benefits under the Supplemental Retirement Income Plan for teachers and state employees are exempt from levy, sale, and
e.
     garnishment NCGS 135-95
     Benefits under the Supplemental Retirement Income Plan for state law enforcement officers are exempt from levy, sale, and
f.
     garnishment NCGS 143-166.30(g)
                               CaseUNDER
        15. OTHER EXEMPTIONS CLAIMED 18-80386
                                         LAWS OF Doc  1 Filed
                                                 THE STATE      03/20/18
                                                           OF NORTH CAROLINAPage                                   24 of 68
a. Aid to the Aged, Disabled and Families with Dependent Children NCGS 108A-36
b. Aid to the Blind NCGS 111-18
c. Yearly Allowance of Surviving Spouse NCGS 30-15
d. Workers Compensation benefits NCGS 97-21
e. Unemployment benefits, so long as not commingled and except for debts for necessities purchased while unemployed NCGS 96-17
f. Group insurance proceeds NCGS 58-58-165
g. Partnership property, except on a claim against the partnership NCGS 59-55
h. Wages of debtor necessary for support of family NCGS 1-362
     Benefits under the Separate Insurance Benefits Plan for state and local law enforcement officers are exempt from levy, sale, and
i.
     garnishment NCGS 143-166.60(h)
     Vested benefits under the North Carolina Public Employee Deferred Compensation Plan are exempt from levy, sale, and garnishment
j.
     NCGS 147-9.4

        16. FEDERAL PENSION FUND EXEMPTIONS

a.    Foreign Service Retirement and Disability Payments 22 U.S.C. § 4060
b.    Civil Service Retirement benefits 5 U.S.C. § 8346
c.    Railroad Retirement Act annuities and pensions 45 U.S.C. § 231m
d.    Veterans benefits 38 U.S.C. § 5301
e.    Special pension paid to winners of Congressional Medal of Honor 38 U.S.C. § 1562
f.    Annuities payable for service in the General Accounting Office 31 U.S.C. § 776
g.    Thift Savings Plan 5 U.S.C. § 8437(e)

        17. OTHER EXEMPTIONS CLAIMED UNDER NONBANKRUPTCY FEDERAL LAW

a. Social Security benefits 42 U.S.C. § 407
b. Injury or death compensation payments from war risk hazards 42 U.S.C. § 1717
c. Wages owing a master or seamen, except for support of a spouse and/or minor children 46 U.S.C. § 11109
d. Longshoremen and Harbor Workers Compensation Act death and disability benefits 33 U.S.C. § 916
e. Crop insurance proceeds 7 U.S.C. § 1509
f.   Public safety officers’ death benefits 42 U.S.C. § 3796. See subsection (g)
g. Railroad unemployment insurance 45 U.S.C. § 352. See subsection (e)
h. Federal Employees Compensation Act claims 5 U.S.C. § 8130

        18. RECENT PURCHASES
        (a). List tangible personal property purchased by the debtor within ninety (90) days of the filing of the bankruptcy petition

          Description                     Market Value                      Lien Holder                        Amount of Lien                  Net Value




      (b). List any tangible personal property from 18(a) that is directly traceable to the liquidation or conversion of property that may be exempt and that was
not acquired by transferring or using additional property.

           Description of Replacement Property                              Description of Property Liquidated or Converted that May Be Exempt
                                     Case
      19. The debtor’s property is subject     18-80386
                                           to the                Doc
                                                  following claims:                      1     Filed 03/20/18                 Page 25 of 68
     a.    Of the United States or its agencies as provided by federal law
     b.    Of the State of North Carolina or its subdivisions for taxes, appearance bonds or fiduciary bonds
     c.    Of a lien by a laborer for work done and performed for the person claiming the exemption. but only as to the specific property affected
     d.    Of a lien by a mechanic for work done on the premises, but only as to the specific property affected
     e.    For payment of obligations contracted for the purchase of specific real property affected.
     f.    For contractual security interests in specific property affected; provided, that the exemptions shall apply to the debtor’s household goods notwithstanding any contract for a
           nonpossessory, nonpurchase money security interest in any such goods
     g.    For statutory liens, on the specific property affected, other than judicial liens
     h.    For child support, alimony or distributive award order pursuant to Chapter 50 of the General Statutes of North Carolina
      i.   For criminal restitution orders docketed as civil judgments pursuant to G.S. 15A-1340.38
      j.   Debts of a kind specified in 11 U.S.C. § 523(a)(1) (certain taxes), (5) (domestic support obligations)
     k.    Debts of a kind specified in 11 U.S.C. § 522(c)

                                                                              Amount of                                                                               Value of
             Claimant                         Nature of Claim                                                    Description of Property                                                Net Value
                                                                               Claim                                                                                  Property
Hicks Motor Sales                     PMSI Motor Vehicle Lien                       1,200.00 1997 Infiniti Q45                                                             2,600.00          1,400.00
Hoke County Tax                       Property Taxes /                                       3300 Laurinburg Rd, Raeford, NC 28376
                                                                                   13,053.94                                                                            451,000.00 437,946.06
Collector                             Judgment                                               (Hoke)
Hoke County Tax                                                                                 4160 Laurinburg Rd., Raeford, NC 28376
                                      Property Taxes                                2,595.42                                                                             76,240.00          73,644.58
Collector                                                                                       (Hoke)
Hoke County Tax                                                                                 521 Gatlin Farm Rd., Raeford, NC 28376
                                      Property Taxes                                1,130.79                                                                             29,000.00          27,869.21
Collector                                                                                       (Hoke)
Pitt County Tax Collector             Property Taxes                                   293.66 4895 Gum Swamp Rd., Ayden, NC 28513 (Pitt)                                   8,075.66          7,782.00

      None of the property listed in paragraph 18(a), except qualified replacement property under 18(b), has been included in this claim of exemptions.
      None of the claims listed in paragraph 19 is subject to this claim of exemptions.
     I declare that to the extent any exemptions I have claimed appear on its face to exceed the amount allowed by the applicable statute, I claim only the
maximum amount allowed by statute.

   UNSWORN DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF INDIVIDUAL TO SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

      I, Lent C. Carr, II , declare under penalty of perjury that I have read the foregoing Schedule C-1 - Property Claimed as Exempt, consisting of 6 sheets,
and that they are true and correct to the best of my knowledge, information and belief.

Executed
on:
                  March 20, 2018                                                                                                                      /s/ Lent C. Carr II
                                                                                                                                                                          Debtor
                                     Case 18-80386              Doc 1        Filed 03/20/18          Page 26 of 68
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                                                 UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF NORTH CAROLINA
                                                         RALEIGH DIVISION

IN RE:                                                                                          CASE NUMBER:

     LENT C. CARR, II
     DELTARINA CARR
                                       DEBTOR(S)
                                               SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT
      I, Deltarina Carr , claim the following property as exempt pursuant to 11 U.S.C. § 522 and the laws of the State of North Carolina, and nonbankruptcy
Federal law: (Attach additional sheets if necessary).
       1. NCGS 1C-1601(a)(1) (NC Const., Article X, Section 2) REAL OR PERSONAL PROPERTY USED AS A RESIDENCE OR BURIAL PLOT (The
exemption is not to exceed $35,000; however, an unmarried debtor who is 65 years of age or older is entitled to retain an aggregate interest in the property not
to exceed $60,000 in value so long as the property was previously owned by the debtor as a tenant by the entireties or as a joint tenant with rights of
survivorship and the former co-owner of the property is deceased, in which case the debtor must specify his/her age and the name of the former co-owner, if a
child use initials only, of the property below).

                                                                                                                                               Value Claimed
                                                    Owner
                                                                                                                                                as Exempt
                                                 (H)Husband
Description of Property and Address Market Value            Mortgage Holder or Lien Holder Amount of Mortgage or Lien Net Value                 Pursuant to
                                                   (W)Wife
                                                                                                                                                NCGS 1C-
                                                   (J)Joint
                                                                                                                                                 1601(a)(1)




Debtor’s Age:
Name of former co-owner:

                                                           VALUE OF REAL ESTATE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(1): $ 0 .00

      2. NCGS 1C-1601(a)(3) MOTOR VEHICLE (The exemption in one vehicle is not to exceed $3,500).

                                                                                                                                               Value Claimed
                                                                    Owner
                                                                                                                                                as Exempt
                                                                 (H)Husband
         Model, Year Style of Auto            Market Value                        Lien Holder          Amount of Lien          Net Value        Pursuant to
                                                                   (W)Wife
                                                                                                                                                NCGS 1C-
                                                                   (J)Joint
                                                                                                                                                 1601(a)(3)




                                                       VALUE OF MOTOR VEHICLE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(3): $ 0 .00
                                   Case
      3. NCGS 1C-1601(a)(4) (NC Const.,      18-80386
                                          Article X, Section 1) Doc  1 Filed
                                                                PERSONAL            03/20/18GOODS
                                                                            OR HOUSEHOLD            Page
                                                                                                       (The27   of 68
                                                                                                            debtor’s aggregate interest is not to exceed
$5,000 plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents). The number of dependents for exemption purposes is .

                                                                                                                                              Value Claimed
                                                                                     Owner
                                                                                                                                               as Exempt
                                                                                  (H)Husband
                      Description of Property                        Market Value            Lien Holder Amount of Lien Net Value              Pursuant to
                                                                                    (W)Wife
                                                                                                                                               NCGS 1C-
                                                                                    (J)Joint
                                                                                                                                                1601(a)(4)
Air Conditioners (50% owner)                                               100.00       J       None                     0.00      50.00               50.00
Bedroom Furniture (50% owner)                                                75.00      J       None                     0.00      37.50               37.50
Clothing & Personal Affects (50% owner)                                    960.00       J       None                     0.00     480.00              480.00
Computers (50% owner)                                                      100.00       J       None                     0.00      50.00               50.00
Dining Room Furniture (50% owner)                                            95.00      J       None                     0.00      47.50               47.50
Dishwasher (50% owner)                                                       50.00      J       None                     0.00      25.00               25.00
Dryer (50% owner)                                                            30.00      J       None                     0.00      15.00               15.00
DVD/VCR (50% owner)                                                          20.00      J       None                     0.00      10.00               10.00
Freezer (50% owner)                                                          85.00      J       None                     0.00      42.50               42.50
Jewelry (50% owner)                                                          15.00      J       None                     0.00          7.50             7.50
Living Room Furniture (50% owner)                                          100.00       J       None                     0.00      50.00               50.00
Microwave (50% owner)                                                        20.00      J       None                     0.00      10.00               10.00
Miscellaneous household goods and sundries (50% owner)                     150.00       J       None                     0.00      75.00               75.00
Musical Instruments (50% owner)                                              15.00      J       None                     0.00          7.50             7.50
Other Kitchen Appliances (50% owner)                                       300.00       J       None                     0.00     150.00              150.00
Paintings, Art, Rugs (50% owner)                                             50.00      J       None                     0.00      25.00               25.00
Pets (50% owner)                                                             75.00      J       None                     0.00      37.50               37.50
Recreational Equipment (50% owner)                                            5.00      J       None                     0.00          2.50             2.50
Refrigerator (50% owner)                                                     75.00      J       None                     0.00      37.50               37.50
Stereos (50% owner)                                                          32.00      J       None                     0.00      16.00               16.00
Stove (50% owner)                                                            50.00      J       None                     0.00      25.00               25.00
Tableware (50% owner)                                                        80.00      J       None                     0.00      40.00               40.00
Television(s) (50% owner)                                                  100.00       J       None                     0.00      50.00               50.00
Washing Machine (50% owner)                                                  30.00      J       None                     0.00      15.00               15.00
Yard Tools (50% owner)                                                       10.00      J       None                     0.00          5.00             5.00

                                                                        VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS 1C-1601(a)(4) : $ 1,311 .00

      4. NCGS 1C-1601(a)(5) TOOLS OF TRADE (The debtor’s aggregate interest is not to exceed $2,000 in value).

                                                                                                                                              Value Claimed
                                                     Owner
                                                                                                                                               as Exempt
                                                  (H)Husband
      Description             Market Value                           Lien Holder              Amount of Lien               Net Value           Pursuant to
                                                    (W)Wife
                                                                                                                                               NCGS 1C-
                                                    (J)Joint
                                                                                                                                                1601(a)(5)




                                                                             VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS-1C-1601(a)(5): $ 0 .00
                                  Case 18-80386
      5. NCGS 1C-1601(a)(6) LIFE INSURANCE              DocX,1Section
                                           (NC Const., Article   Filed5)             03/20/18        Page 28 of 68
    Description       Insured             Last Four Digits of Policy Number                      Beneficiary (if child, initials only)          Cash Value




      6. NCGS 1C-1601(a)(7) PROFESSIONALLY PRESCRIBED HEALTH AIDS (For Debtor or Debtor’s Dependents, no limit on value).

                                                                         Description




    7. NCGS 1C-1601(a)(8) COMPENSATION FOR PERSONAL INJURY, INCLUDING COMPENSATION FROM PRIVATE DISABILITY POLICIES OR
ANNUITIES, OR COMPENSATION FOR DEATH OF A PERSON UPON WHOM THE DEBTOR WAS DEPENDENT FOR SUPPORT. COMPENSATION NOT
EXEMPT FROM RELATED LEGAL, HEALTH OR FUNERAL EXPENSE.

 Description       Source of Compensation, Including Name (If child, initials only) & Last Four Digits of Account Number of any Disability Policy/Annuity




     8. NCGS 1C-1601(a)(2) ANY PROPERTY [Debtor’s aggregate interest in any property is not to exceed $5,000 in value of any unused exemption
amount to which the debtor is entitled under NCGS 1C-1601(a)(1)].

                                                                                                                                                Value Claimed
                                                                           Owner
                                                                                                                                                 as Exempt
                                                                        (H)Husband
       Description of Property and Address            Market Value                     Lien Holder         Amount of Lien           Net Value    Pursuant to
                                                                          (W)Wife
                                                                                                                                                 NCGS 1C-
                                                                          (J)Joint
                                                                                                                                                  1601(a)(2)




                                                                              VALUE CLAIMED AS EXEMPT PURSUANT TO NCGS-1C-1601(a)(2): $ 0 .00

       9. NCGS 1C-1601(a)(9) and 11 U.S.C. § 522 INDIVIDUAL RETIREMENT PLANS & RETIREMENT FUNDS, as defined in the Internal Revenue Code,
and any plan treated in the same manner as an individual retirement plan, including individual retirement accounts and Roth retirement accounts as described
in §§ 408(a) and 408A of the Internal Revenue Code, individual retirement annuities as described in § 408(b) of the Internal Revenue Code, accounts
established as part of a trust described in § 408(c) of the Internal Revenue Code, and funds in an account exempt from taxation under § 401, 403, 408, 408A,
414, 457, or 510(a) of the Internal Revenue Code. For purposes of this subdivision, “Internal Revenue Code” means Code as defined in G.S. 105-228.90.

          Type of Account                       Location of Account                                   Last Four Digits of Account Number
       10. NCGS 1C-1601(a)(10) FUNDS     CaseIN A18-80386
                                                  COLLEGE SAVINGS  DocPLAN,
                                                                        1 as  Filed    03/20/18
                                                                                 qualified              Page
                                                                                           under § 529 of         29 of
                                                                                                           the Internal   68 Code, and that are not otherwise
                                                                                                                        Revenue
excluded from the estate pursuant to 11 U.S.C. §§ 541(b)(5)-(6), (e), not to exceed a cumulative limit of $25,000. If funds were placed in a college savings plan
within the 12 months prior to filing, the contributions must have been made in the ordinary course of the debtor’s financial affairs and must have been
consistent with the debtor’s past pattern of contributions. The exemption applies to funds for a child of the debtor that will actually be used for the child’s
college or university expenses.

         College Savings Plan                        Last Four Digits of Account Number                 Value              Initials of Child Beneficiary




      11. NCGS 1C-1601(a)(11) RETIREMENT BENEFITS UNDER THE RETIREMENT PLANS OF OTHER STATES AND GOVERNMENTAL UNITS OF
OTHER STATES (The debtor’s interest is exempt only to the extent that these benefits are exempt under the laws of the state or governmental unit under
which the benefit plan is established).

           Name of Retirement Plan                       State Governmental Unit                           Last Four Digits of Identifying Number




      12. NCGS 1C-1601(a)(12) ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT HAVE BEEN
RECEIVED OR TO WHICH THE DEBTOR IS ENTITLED (The debtor’s interest is exempt to the extent the payments or funds are reasonably necessary for the
support of the debtor or any dependent of the debtor).

                       Type of Support                                  Amount                                       Location of Funds


       13. TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522 and the law of the State of North Carolina
pertaining to property held as tenants by the entirety.

               Description of Property and Address                     Market Value             Lien Holder            Amount of Lien               Net Value




                                                                                                                       VALUE CLAIMED AS EXEMPT: $ 0 .00

       14. NORTH CAROLINA PENSION FUND EXEMPTIONS

a. North Carolina Local Government Employees Retirement benefits NCGS 128-31
b. North Carolina Teachers and State Employees Retirement benefits NCGS 135-9
c. Firemen’s Relief Fund pensions NCGS 58-86-90
d. Fraternal Benefit Society benefits NCGS 58-24-85
     Benefits under the Supplemental Retirement Income Plan for teachers and state employees are exempt from levy, sale, and
e.
     garnishment NCGS 135-95
     Benefits under the Supplemental Retirement Income Plan for state law enforcement officers are exempt from levy, sale, and
f.
     garnishment NCGS 143-166.30(g)
                               CaseUNDER
        15. OTHER EXEMPTIONS CLAIMED 18-80386
                                         LAWS OF Doc  1 Filed
                                                 THE STATE      03/20/18
                                                           OF NORTH CAROLINAPage                                   30 of 68
a. Aid to the Aged, Disabled and Families with Dependent Children NCGS 108A-36
b. Aid to the Blind NCGS 111-18
c. Yearly Allowance of Surviving Spouse NCGS 30-15
d. Workers Compensation benefits NCGS 97-21
e. Unemployment benefits, so long as not commingled and except for debts for necessities purchased while unemployed NCGS 96-17
f. Group insurance proceeds NCGS 58-58-165
g. Partnership property, except on a claim against the partnership NCGS 59-55
h. Wages of debtor necessary for support of family NCGS 1-362
     Benefits under the Separate Insurance Benefits Plan for state and local law enforcement officers are exempt from levy, sale, and
i.
     garnishment NCGS 143-166.60(h)
     Vested benefits under the North Carolina Public Employee Deferred Compensation Plan are exempt from levy, sale, and garnishment
j.
     NCGS 147-9.4

        16. FEDERAL PENSION FUND EXEMPTIONS

a.    Foreign Service Retirement and Disability Payments 22 U.S.C. § 4060
b.    Civil Service Retirement benefits 5 U.S.C. § 8346
c.    Railroad Retirement Act annuities and pensions 45 U.S.C. § 231m
d.    Veterans benefits 38 U.S.C. § 5301
e.    Special pension paid to winners of Congressional Medal of Honor 38 U.S.C. § 1562
f.    Annuities payable for service in the General Accounting Office 31 U.S.C. § 776
g.    Thift Savings Plan 5 U.S.C. § 8437(e)

        17. OTHER EXEMPTIONS CLAIMED UNDER NONBANKRUPTCY FEDERAL LAW

a. Social Security benefits 42 U.S.C. § 407
b. Injury or death compensation payments from war risk hazards 42 U.S.C. § 1717
c. Wages owing a master or seamen, except for support of a spouse and/or minor children 46 U.S.C. § 11109
d. Longshoremen and Harbor Workers Compensation Act death and disability benefits 33 U.S.C. § 916
e. Crop insurance proceeds 7 U.S.C. § 1509
f.   Public safety officers’ death benefits 42 U.S.C. § 3796. See subsection (g)
g. Railroad unemployment insurance 45 U.S.C. § 352. See subsection (e)
h. Federal Employees Compensation Act claims 5 U.S.C. § 8130

        18. RECENT PURCHASES
        (a). List tangible personal property purchased by the debtor within ninety (90) days of the filing of the bankruptcy petition

          Description                     Market Value                      Lien Holder                        Amount of Lien                  Net Value




      (b). List any tangible personal property from 18(a) that is directly traceable to the liquidation or conversion of property that may be exempt and that was
not acquired by transferring or using additional property.

           Description of Replacement Property                              Description of Property Liquidated or Converted that May Be Exempt
                                     Case
      19. The debtor’s property is subject     18-80386
                                           to the                Doc
                                                  following claims:                      1     Filed 03/20/18                 Page 31 of 68
     a.    Of the United States or its agencies as provided by federal law
     b.    Of the State of North Carolina or its subdivisions for taxes, appearance bonds or fiduciary bonds
     c.    Of a lien by a laborer for work done and performed for the person claiming the exemption. but only as to the specific property affected
     d.    Of a lien by a mechanic for work done on the premises, but only as to the specific property affected
     e.    For payment of obligations contracted for the purchase of specific real property affected.
     f.    For contractual security interests in specific property affected; provided, that the exemptions shall apply to the debtor’s household goods notwithstanding any contract for a
           nonpossessory, nonpurchase money security interest in any such goods
     g.    For statutory liens, on the specific property affected, other than judicial liens
     h.    For child support, alimony or distributive award order pursuant to Chapter 50 of the General Statutes of North Carolina
      i.   For criminal restitution orders docketed as civil judgments pursuant to G.S. 15A-1340.38
      j.   Debts of a kind specified in 11 U.S.C. § 523(a)(1) (certain taxes), (5) (domestic support obligations)
     k.    Debts of a kind specified in 11 U.S.C. § 522(c)

                                                                              Amount of                                                                               Value of
             Claimant                         Nature of Claim                                                    Description of Property                                                Net Value
                                                                               Claim                                                                                  Property
Hicks Motor Sales                     PMSI Motor Vehicle Lien                       1,200.00 1997 Infiniti Q45                                                             2,600.00          1,400.00
Hoke County Tax                       Property Taxes /                                       3300 Laurinburg Rd, Raeford, NC 28376
                                                                                   13,053.94                                                                            451,000.00 437,946.06
Collector                             Judgment                                               (Hoke)
Hoke County Tax                                                                                 4160 Laurinburg Rd., Raeford, NC 28376
                                      Property Taxes                                2,595.42                                                                             76,240.00          73,644.58
Collector                                                                                       (Hoke)
Hoke County Tax                                                                                 521 Gatlin Farm Rd., Raeford, NC 28376
                                      Property Taxes                                1,130.79                                                                             29,000.00          27,869.21
Collector                                                                                       (Hoke)
Pitt County Tax Collector             Property Taxes                                   293.66 4895 Gum Swamp Rd., Ayden, NC 28513 (Pitt)                                   8,075.66          7,782.00

      None of the property listed in paragraph 18(a), except qualified replacement property under 18(b), has been included in this claim of exemptions.
      None of the claims listed in paragraph 19 is subject to this claim of exemptions.
     I declare that to the extent any exemptions I have claimed appear on its face to exceed the amount allowed by the applicable statute, I claim only the
maximum amount allowed by statute.

   UNSWORN DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF INDIVIDUAL TO SCHEDULE C-1 - PROPERTY CLAIMED AS EXEMPT

      I, Deltarina Carr , declare under penalty of perjury that I have read the foregoing Schedule C-1 - Property Claimed as Exempt, consisting of 6 sheets,
and that they are true and correct to the best of my knowledge, information and belief.

Executed
on:
                  March 20, 2018                                                                                                                      /s/ Deltarina Carr
                                                                                                                                                                          Debtor
                                           Case 18-80386                Doc 1         Filed 03/20/18                 Page 32 of 68

 Fill in this information to identify your case:

 Debtor 1              Lent Christopher Carr II
                       First Name         Middle Name       Last Name

 Debtor 2              Deltarina V. Carr
 (Spouse, if filing)   First Name         Middle Name       Last Name


 United States Bankruptcy Court for the:          Eastern District of North Carolina
                                                                                                                               Check if this is:
 Case number
                                                                                                                                 An amended filing
 (if known)




Official Form 106D
Schedule D: Creditors Who Have Claims Secured by
Property
                                                                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages,
write your name and case number (if known).

1. Do any creditors have priority unsecured claims against you?

       No. Go to Part 2
       Yes.
 Part 1:         List All Secured Claims
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for                      Column A           Column B             Column C
   each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much                     Amount of          Value of collateral Unsecured
   as possible, list the claims in alphabetical order according to the creditor’s name.                                          claim              that supports this portion
                                                                                                                                 Do not deduct      claim               If any
                                                                                                                                 the value of
                                                                                                                                 collateral.
         Hicks Motor Sales                                      Describe the property that secures the claim:
 2.1     Creditor’s Name                                                                                                         $       1,200.00     $   2,600.00   $       0.00
                                                                 1997 Infiniti Q45
         532 Hillsboro St.
         Number     Street
                                                                As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
         Oxford, NC 27565                                         Unliquidated
         City                  State   ZIP Code                   Disputed
         Who owes the debt? Check one                           Nature of lien:
          Debtor 1 only                                           An agreement you made (such as mortgage or secured
          Debtor 2 only                                         car loan)
          Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another                 Judgment lien from a lawsuit
          Check if this claim relates to a community debt         Other (including a right to offset)
         Date debt was incurred
                                                                Last 4 digits of account number
         Hoke County Tax Collector                              Describe the property that secures the claim:
 2.2     Creditor’s Name                                                                                                         $ 13,053.94          $ 451,000.00   $        0.00
                                                                 3300 Laurinburg Rd, Raeford, NC 28376 (Hoke)
         227 N. Main St.
         Number     Street
         Raeford, NC 28376                                      As of the date you file, the claim is: Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
         City                  State   ZIP Code                   Disputed
         Who owes the debt? Check one                           Nature of lien:
          Debtor 1 only                                           An agreement you made (such as mortgage or secured
          Debtor 2 only                                         car loan)
          Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another                 Judgment lien from a lawsuit
          Check if this claim relates to a community debt         Other (including a right to offset) Property Taxes
         Date debt was incurred
                                                                Last 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here:                                               $           14,254


Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                                 page 1
Debtor 1
                                        Case 18-80386
                  Lent Christopher Carr II
                                                                      Doc 1          Filed 03/20/18   Page 33 of 68
                                                                                                  Case number (if known)
                  First Name        Middle Name           Last Name
                                                                                                                              Column A           Column B               Column C
 Part 1:      Additional Page                                                                                                 Amount of          Value of collateral Unsecured
                                                                                                                              claim              that supports this portion
 After listing any entries on this page, number them beginning with 2.3, followed                                             Do not deduct      claim               If any
                                                                                                                              the value of
 by 2.4, and so forth.                                                                                                        collateral.
       Hoke County Tax Collector                               Describe the property that secures the claim:
 2.3   Creditor’s Name                                                                                                        $       2,595.42     $    76,240.00   $        0.00
                                                                4160 Laurinburg Rd., Raeford, NC 28376 (Hoke)
       227 N. Main St.
       Number     Street
       Raeford, NC 28376                                       As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
       City                 State   ZIP Code                     Disputed
       Who owes the debt? Check one                            Nature of lien:
        Debtor 1 only                                            An agreement you made (such as mortgage or secured
        Debtor 2 only                                          car loan)
        Debtor 1 and Debtor 2 only                               Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                  Judgment lien from a lawsuit
        Check if this claim relates to a community debt          Other (including a right to offset) Property Taxes
       Date debt was incurred
                                                               Last 4 digits of account number
       Hoke County Tax Collector                               Describe the property that secures the claim:
 2.4   Creditor’s Name                                                                                                        $       1,130.79     $    29,000.00   $        0.00
                                                                521 Gatlin Farm Rd., Raeford, NC 28376 (Hoke)
       227 N. Main St.
       Number     Street
       Raeford, NC 28376                                       As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
       City                 State   ZIP Code                     Disputed
       Who owes the debt? Check one                            Nature of lien:
        Debtor 1 only                                            An agreement you made (such as mortgage or secured
        Debtor 2 only                                          car loan)
        Debtor 1 and Debtor 2 only                               Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                  Judgment lien from a lawsuit
        Check if this claim relates to a community debt          Other (including a right to offset) Property Taxes
       Date debt was incurred
                                                               Last 4 digits of account number
       Pitt County Tax Collector                               Describe the property that secures the claim:
 2.5   Creditor’s Name                                                                                                        $        293.66     $     8,075.66    $       0.00
                                                                4895 Gum Swamp Rd., Ayden, NC 28513 (Pitt)
       P.O. Box 43
       Number     Street
                                                               As of the date you file, the claim is: Check all that apply.
                                                                 Contingent
       Greenville, NC 27835                                      Unliquidated
       City                 State   ZIP Code                     Disputed
       Who owes the debt? Check one                            Nature of lien:
        Debtor 1 only                                            An agreement you made (such as mortgage or secured
        Debtor 2 only                                          car loan)
        Debtor 1 and Debtor 2 only                               Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                  Judgment lien from a lawsuit
        Check if this claim relates to a community debt          Other (including a right to offset)
       Date debt was incurred
                                                               Last 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here:                                            $             4,020
If this is the last page of your form, add the dollar value totals from all pages. Write that number                              $           18,274
here:




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                                  page 2
Debtor 1             Lent Christopher Carr II
                                             Case 18-80386                  Doc 1          Filed 03/20/18   Page 34 of 68
                                                                                                        Case number (if known)
                     First Name        Middle Name             Last Name

 Part 2:        List Others to Be Notified About a Debt That You Already Listed

     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying to
     collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one creditor for
     any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1, do not fill out or
     submit this page.
           Rudolph K. Smith                                             On which line in Part 1 did you enter the creditor? 2.2
 1         Name
           RKS Law
           Number  Street                                             Last 4 digits of account number
                                                                      Attorney for Hoke County Tax Collector
           PO Box 2095
           Fayetteville, NC 28302-2095
           City                 State  ZIP Code
                                                                   On which line in Part 1 did you enter the creditor?
        Name


        Number     Street                                           Last 4 digits of account number



        City                  State    ZIP Code

                                                                   On which line in Part 1 did you enter the creditor?
        Name


        Number     Street                                           Last 4 digits of account number



        City                  State    ZIP Code

                                                                   On which line in Part 1 did you enter the creditor?
        Name


        Number     Street                                           Last 4 digits of account number



        City                  State    ZIP Code
                                                                   On which line in Part 1 did you enter the creditor?
        Name

        Number     Street                                           Last 4 digits of account number



        City                  State    ZIP Code
                                                                   On which line in Part 1 did you enter the creditor?
        Name


        Number     Street                                           Last 4 digits of account number



        City                  State    ZIP Code

                                                                   On which line in Part 1 did you enter the creditor?
        Name


        Number     Street                                           Last 4 digits of account number



        City                  State    ZIP Code




Official Form 106D                                     Schedule D: Creditors Who Have Claims Secured by Property                                                                    page 3
                                              Case 18-80386                    Doc 1          Filed 03/20/18                 Page 35 of 68

 Fill in this information to identify your case:

 Debtor 1                 Lent Christopher Carr II
                          First Name         Middle Name           Last Name

 Debtor 2                 Deltarina V. Carr
 (Spouse, if filing)      First Name         Middle Name           Last Name

 United States Bankruptcy Court for the:              Eastern District of North Carolina
                                                                                                                                       Check if this is:
 Case number
 (if known)
                                                                                                                                         An amended filing




Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                                         12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List
the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
(Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
your name and case number (if known).

 Part 1:         List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?

       No. Go to Part 2
       Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
    type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as possible, list the claims in
    alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a
    particular claim, list the other creditors in Part 3.
    (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                         Total claim        Priority            Nonpriority
                                                                                                                                                            amount              amount
 2.1
         Internal Revenue Service                                       Last 4 digits of account number                                  $                 $           0.00     $             0.00
         Priority Creditor’s Name
                                                                        When was the debt incurred?
         P.O. Box 7346
         Number     Street                                              As of the date you file, the claim is: Check all that apply.
                                                                           Contingent
                                                                           Unliquidated
                                                                           Disputed
         City                     State   ZIP Code
                                                                        Type of PRIORITY unsecured claim:
         Who incurred the debt? Check one                                  Domestic support obligations
            Debtor 1 only                                                  Taxes and certain other debts you owe the government
            Debtor 2 only                                                  Claims for death or personal injury while you were
            Debtor 1 and Debtor 2 only                                  intoxicated
            At least one of the debtors and another                        Other. Specify
            Check if this claim is for a community debt
         Is the claim subject to offset?
            No
            Yes
 2.2
         North Carolina Dept of Revenue                                 Last 4 digits of account number                                  $                 $           0.00     $             0.00
         Priority Creditor’s Name
                                                                        When was the debt incurred?
         Office Services Division
         Number     Street                                              As of the date you file, the claim is: Check all that apply.
         Bankruptcy Unit                                                   Contingent
                                                                           Unliquidated
         Raleigh, NC 27602-1168                                            Disputed
         City                State        ZIP Code
                                                                        Type of PRIORITY unsecured claim:
         Who incurred the debt? Check one                                  Domestic support obligations
            Debtor 1 only                                                  Taxes and certain other debts you owe the government
            Debtor 2 only                                                  Claims for death or personal injury while you were
            Debtor 1 and Debtor 2 only                                  intoxicated
            At least one of the debtors and another                        Other. Specify
            Check if this claim is for a community debt
         Is the claim subject to offset?
            No
            Yes



Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                                               page 1
Debtor 1              Lent Christopher Carr II
                                               Case 18-80386                     Doc 1          Filed 03/20/18   Page 36 of 68
                                                                                                             Case number (if known)
                      First Name         Middle Name              Last Name

 Part 2:        List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?

       No. Go to Part 2
       Yes.

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured claim, list the
    creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim,
    list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.

                                                                                                                                                                             Total claim
 4.1
         ACS/BoA                                                                           Last 4 digits of account number                                                      $          4,750.00
         Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?
         P.O. Box 7060
         Number     Street                                                                 As of the date you file, the claim is: Check all that apply.
                                                                                             Contingent
                                                                                             Unliquidated
         Utica, NY 13504-7060                                                                Disputed
         City                 State      ZIP Code
                                                                                           Type of NONPRIORITY unsecured claim:
         Who incurred the debt? Check one                                                    Student loans
            Debtor 1 only                                                                    Obligations arising out of a separation agreement or divorce that you did
            Debtor 2 only                                                                  not report as priority claims
            Debtor 1 and Debtor 2 only                                                       Debts to pension or profit-sharing plans, and other similar debts
            At least one of the debtors and another                                          Other. Specify
            Check if this claim is for a community debt
         Is the claim subject to offset?
            No
            Yes
 4.2
         AT&T                                                                              Last 4 digits of account number                                                      $            528.00
         Nonpriority Creditor’s Name
                                                                                           When was the debt incurred? May 2017
         1801 Valley View Ln
         Number     Street
                                                                                           As of the date you file, the claim is: Check all that apply.
                                                                                             Contingent
                                                                                             Unliquidated
         Dallas, TX 75234-8906
                                                                                             Disputed
         City                State       ZIP Code
                                                                                           Type of NONPRIORITY unsecured claim:
         Who incurred the debt? Check one                                                    Student loans
            Debtor 1 only                                                                    Obligations arising out of a separation agreement or divorce that you did
            Debtor 2 only                                                                  not report as priority claims
            Debtor 1 and Debtor 2 only                                                       Debts to pension or profit-sharing plans, and other similar debts
            At least one of the debtors and another                                          Other. Specify Communications
            Check if this claim is for a community debt
         Is the claim subject to offset?
            No
            Yes
 4.3
         Dish Network                                                                      Last 4 digits of account number                                                      $          1,263.00
         Nonpriority Creditor’s Name
                                                                                           When was the debt incurred?
         9601 S. Meridian Blvd.
         Number    Street                                                                  As of the date you file, the claim is: Check all that apply.
                                                                                             Contingent
                                                                                             Unliquidated
         Englewood, CO 80112                                                                 Disputed
         City              State         ZIP Code
                                                                                           Type of NONPRIORITY unsecured claim:
         Who incurred the debt? Check one                                                    Student loans
            Debtor 1 only                                                                    Obligations arising out of a separation agreement or divorce that you did
            Debtor 2 only                                                                  not report as priority claims
            Debtor 1 and Debtor 2 only                                                       Debts to pension or profit-sharing plans, and other similar debts
            At least one of the debtors and another                                          Other. Specify Communications
            Check if this claim is for a community debt
         Is the claim subject to offset?
            No
            Yes

  The above listed balances and creditor names are based on best avaliable information to the debtor(s). Such is provided for disclosure purposes, but is
  not an admission that the particular balances are owed or that the entity or individual listed has present and enforceable rights in the debt. Without
  limitation, the debtor(s) reserve the right to object to fees, charges, interest, and other matters of the computation of the balances, including all latent
  issues with the enforceability of the debt. In the event an issue with the debt is presently known to the debtor(s), such is indicated by the disputed flag
  above.




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                                                page 2
Debtor 1
                                          Case 18-80386
                   Lent Christopher Carr II
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                                                                                            Case number (if known)
                   First Name       Middle Name           Last Name

 Part 2:      Your NONPRIORITY Unsecured Claims - Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                  Total claim
        Duke Energy
 4.4 Nonpriority Creditor’s Name                                         Last 4 digits of account number                                                  $           580.00
                                                                         When was the debt incurred?
       PO Box 70515
       Number   Street                                                    As of the date you file, the claim is: Check all that apply.
                                                                            Contingent
                                                                            Unliquidated
       Charlotte, NC 28272                                                  Disputed
       City                State     ZIP Code
                                                                          Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one                                     Student loans
          Debtor 1 only                                                     Obligations arising out of a separation agreement or divorce that you did
          Debtor 2 only                                                   not report as priority claims
          Debtor 1 and Debtor 2 only                                        Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another                           Other. Specify Utilities
          Check if this claim is for a community debt
       Is the claim subject to offset?
          No
          Yes
 4.5
       Hoke County District Attorney                                      Last 4 digits of account number                                                 $
       Nonpriority Creditor’s Name
                                                                          When was the debt incurred?
       231 N Main St
       Number    Street                                                   As of the date you file, the claim is: Check all that apply.
                                                                            Contingent
                                                                            Unliquidated
       Raeford, NC 28376                                                    Disputed
       City                 State    ZIP Code
                                                                          Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one                                     Student loans
          Debtor 1 only                                                     Obligations arising out of a separation agreement or divorce that you did
          Debtor 2 only                                                   not report as priority claims
          Debtor 1 and Debtor 2 only                                        Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another                           Other. Specify
          Check if this claim is for a community debt                     Bad Check related charges pertaining to property taxes
       Is the claim subject to offset?
          No
          Yes
 4.6
       Kroger                                                             Last 4 digits of account number                                                 $            74.00
       Nonpriority Creditor’s Name
                                                                          When was the debt incurred?
       1014 Vine St
       Number     Street                                                  As of the date you file, the claim is: Check all that apply.
                                                                            Contingent
                                                                            Unliquidated
       Cincinnati, OH 45202                                                 Disputed
       City                 State    ZIP Code
                                                                          Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one                                     Student loans
          Debtor 1 only                                                     Obligations arising out of a separation agreement or divorce that you did
          Debtor 2 only                                                   not report as priority claims
          Debtor 1 and Debtor 2 only                                        Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another                           Other. Specify
          Check if this claim is for a community debt
       Is the claim subject to offset?
          No
          Yes


  The above listed balances and creditor names are based on best avaliable information to the debtor(s). Such is provided for disclosure purposes, but is
  not an admission that the particular balances are owed or that the entity or individual listed has present and enforceable rights in the debt. Without
  limitation, the debtor(s) reserve the right to object to fees, charges, interest, and other matters of the computation of the balances, including all latent
  issues with the enforceability of the debt. In the event an issue with the debt is presently known to the debtor(s), such is indicated by the disputed flag
  above.




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Debtor 1
                                          Case 18-80386
                   Lent Christopher Carr II
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                                                                                            Case number (if known)
                   First Name       Middle Name           Last Name

 Part 2:     Your NONPRIORITY Unsecured Claims - Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                  Total claim
        Mariner Finance, LLC
 4.7 Nonpriority Creditor’s Name                                         Last 4 digits of account number                                                  $       2,300.00
                                                                         When was the debt incurred? Sep 2016
       1333 Scotland Crossing Dr.
       Number    Street
                                                                          As of the date you file, the claim is: Check all that apply.
                                                                            Contingent
                                                                            Unliquidated
       Laurinburg, NC 28352
                                                                            Disputed
       City                State     ZIP Code
                                                                          Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one                                     Student loans
          Debtor 1 only                                                     Obligations arising out of a separation agreement or divorce that you did
          Debtor 2 only                                                   not report as priority claims
          Debtor 1 and Debtor 2 only                                        Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another                           Other. Specify Secured Loan
          Check if this claim is for a community debt
       Is the claim subject to offset?
          No
          Yes
 4.8
       New South Finance                                                  Last 4 digits of account number                                                 $       6,857.00
       Nonpriority Creditor’s Name
                                                                          When was the debt incurred? Sep 2016
       2107 Chester Ridge Dr.
       Number    Street
                                                                          As of the date you file, the claim is: Check all that apply.
                                                                            Contingent
                                                                            Unliquidated
       High Point, NC 27262
                                                                            Disputed
       City                State     ZIP Code
                                                                          Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one                                     Student loans
          Debtor 1 only                                                     Obligations arising out of a separation agreement or divorce that you did
          Debtor 2 only                                                   not report as priority claims
          Debtor 1 and Debtor 2 only                                        Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another                           Other. Specify Auto Loan
          Check if this claim is for a community debt
       Is the claim subject to offset?
          No
          Yes
 4.9
       Payliance                                                          Last 4 digits of account number                                                 $           97.00
       Nonpriority Creditor’s Name
                                                                          When was the debt incurred?
       Eastern Oral Ste 120
       Number    Street                                                   As of the date you file, the claim is: Check all that apply.
                                                                            Contingent
                                                                            Unliquidated
       Columbus, OH 43219                                                   Disputed
       City               State      ZIP Code
                                                                          Type of NONPRIORITY unsecured claim:
       Who incurred the debt? Check one                                     Student loans
          Debtor 1 only                                                     Obligations arising out of a separation agreement or divorce that you did
          Debtor 2 only                                                   not report as priority claims
          Debtor 1 and Debtor 2 only                                        Debts to pension or profit-sharing plans, and other similar debts
          At least one of the debtors and another                           Other. Specify USPS
          Check if this claim is for a community debt
       Is the claim subject to offset?
          No
          Yes


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  not an admission that the particular balances are owed or that the entity or individual listed has present and enforceable rights in the debt. Without
  limitation, the debtor(s) reserve the right to object to fees, charges, interest, and other matters of the computation of the balances, including all latent
  issues with the enforceability of the debt. In the event an issue with the debt is presently known to the debtor(s), such is indicated by the disputed flag
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Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             page 4
Debtor 1           Lent Christopher Carr II
                                            Case 18-80386              Doc 1       Filed 03/20/18   Page 39 of 68
                                                                                                Case number (if known)
                   First Name           Middle Name        Last Name

 Part 2:     Your NONPRIORITY Unsecured Claims - Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                       Total claim
          PSNC Energy
 4.10 Nonpriority Creditor’s Name                                         Last 4 digits of account number                                                      $           114.00
                                                                          When was the debt incurred?
        PO Box 100256
        Number   Street                                                        As of the date you file, the claim is: Check all that apply.
                                                                                 Contingent
                                                                                 Unliquidated
        Columbia, SC 29202                                                       Disputed
        City               State         ZIP Code
                                                                               Type of NONPRIORITY unsecured claim:
        Who incurred the debt? Check one                                         Student loans
           Debtor 1 only                                                         Obligations arising out of a separation agreement or divorce that you did
           Debtor 2 only                                                       not report as priority claims
           Debtor 1 and Debtor 2 only                                            Debts to pension or profit-sharing plans, and other similar debts
           At least one of the debtors and another                               Other. Specify Utilities
           Check if this claim is for a community debt
        Is the claim subject to offset?
           No
           Yes
 4.11
        Raleigh Radiology Associates, Inc                                      Last 4 digits of account number                                                 $           191.00
        Nonpriority Creditor’s Name
                                                                               When was the debt incurred? Dec 22, 2014
        PO Box 2090
        Number   Street
                                                                            As of the date you file, the claim is: Check all that apply.
                                                                              Contingent
                                                                              Unliquidated
        Morrisville, NC 25760
                                                                              Disputed
        City                 State       ZIP Code
                                                                            Type of NONPRIORITY unsecured claim:
        Who incurred the debt? Check one                                      Student loans
           Debtor 1 only                                                      Obligations arising out of a separation agreement or divorce that you did
           Debtor 2 only                                                    not report as priority claims
           Debtor 1 and Debtor 2 only                                         Debts to pension or profit-sharing plans, and other similar debts
           At least one of the debtors and another                            Other. Specify Medical
           Check if this claim is for a community debt
        Is the claim subject to offset?                                     Past statute of limitations
           No
           Yes
 4.12
        WakeMed                                                                Last 4 digits of account number                                                 $       1,710.00
        Nonpriority Creditor’s Name
                                                                               When was the debt incurred? Jul 23, 2013
        PO Box 29516
        Number   Street
                                                                               As of the date you file, the claim is: Check all that apply.
                                                                                 Contingent
                                                                                 Unliquidated
        Raleigh, NC 27626
                                                                                 Disputed
        City                    State    ZIP Code
                                                                               Type of NONPRIORITY unsecured claim:
        Who incurred the debt? Check one                                         Student loans
           Debtor 1 only                                                         Obligations arising out of a separation agreement or divorce that you did
           Debtor 2 only                                                       not report as priority claims
           Debtor 1 and Debtor 2 only                                            Debts to pension or profit-sharing plans, and other similar debts
           At least one of the debtors and another                               Other. Specify Medical
           Check if this claim is for a community debt
        Is the claim subject to offset?                                        Past statute of limitations
           No
           Yes


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  not an admission that the particular balances are owed or that the entity or individual listed has present and enforceable rights in the debt. Without
  limitation, the debtor(s) reserve the right to object to fees, charges, interest, and other matters of the computation of the balances, including all latent
  issues with the enforceability of the debt. In the event an issue with the debt is presently known to the debtor(s), such is indicated by the disputed flag
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Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                                  page 5
Debtor 1            Lent Christopher Carr II
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                                                                                                  Case number (if known)
                    First Name            Middle Name        Last Name

 Part 2:       Your NONPRIORITY Unsecured Claims - Continuation Page
After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                         Total claim
          Wilson Utilities
 4.13 Nonpriority Creditor’s Name                                         Last 4 digits of account number                                                        $       1,270.00
                                                                          When was the debt incurred? Sep 2017
          208 Nash St E
          Number    Street
                                                                                 As of the date you file, the claim is: Check all that apply.
                                                                                   Contingent
                                                                                   Unliquidated
          Wilson, NC 27893
                                                                                   Disputed
          City                    State    ZIP Code
                                                                                 Type of NONPRIORITY unsecured claim:
          Who incurred the debt? Check one                                         Student loans
             Debtor 1 only                                                         Obligations arising out of a separation agreement or divorce that you did
             Debtor 2 only                                                       not report as priority claims
             Debtor 1 and Debtor 2 only                                            Debts to pension or profit-sharing plans, and other similar debts
             At least one of the debtors and another                               Other. Specify Utilities
             Check if this claim is for a community debt
          Is the claim subject to offset?
             No
             Yes
                                                                            Last 4 digits of account number                                                      $
   Nonpriority Creditor’s Name
                                                                            When was the debt incurred?
   Number       Street                                                      As of the date you file, the claim is: Check all that apply.
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
   City                   State      ZIP Code
                                                                            Type of NONPRIORITY unsecured claim:
   Who incurred the debt? Check one                                           Student loans
      Debtor 1 only                                                           Obligations arising out of a separation agreement or divorce that you did
      Debtor 2 only                                                         not report as priority claims
      Debtor 1 and Debtor 2 only                                              Debts to pension or profit-sharing plans, and other similar debts
      At least one of the debtors and another                                 Other. Specify
      Check if this claim is for a community debt
   Is the claim subject to offset?
      No
      Yes
                                                                            Last 4 digits of account number                                                      $
   Nonpriority Creditor’s Name
                                                                            When was the debt incurred?
   Number       Street                                                      As of the date you file, the claim is: Check all that apply.
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
   City                   State      ZIP Code
                                                                            Type of NONPRIORITY unsecured claim:
   Who incurred the debt? Check one                                           Student loans
      Debtor 1 only                                                           Obligations arising out of a separation agreement or divorce that you did
      Debtor 2 only                                                         not report as priority claims
      Debtor 1 and Debtor 2 only                                              Debts to pension or profit-sharing plans, and other similar debts
      At least one of the debtors and another                                 Other. Specify
      Check if this claim is for a community debt
   Is the claim subject to offset?
      No
      Yes

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  limitation, the debtor(s) reserve the right to object to fees, charges, interest, and other matters of the computation of the balances, including all latent
  issues with the enforceability of the debt. In the event an issue with the debt is presently known to the debtor(s), such is indicated by the disputed flag
  above.




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                                                                                                      Case number (if known)
                      First Name        Middle Name     Last Name

 Part 3:      List Others to Be Notified About a Debt That You Already Listed

 6. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
    collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
    collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
    creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 AMCOL Systems, Inc.                                  On which entry in Part 1 or Part 2 did you list the original creditor?
 Name                                                                            Part 1: Creditors with Priority Unsecured Claims
 PO Box 21625                                         Line 4.12 of (Check one): Part 2: Creditors with Nonpriority Unsecured Claims
 Number   Street
                                                      Last 4 digits of account number
                                                      Collections for WakeMed
 Columbia, SC 29221
 City               State          ZIP Code
 Convergent Outsourcing                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Name                                                                            Part 1: Creditors with Priority Unsecured Claims
 PO Box 9004                                          Line 4.3 of (Check one): Part 2: Creditors with Nonpriority Unsecured Claims
 Number   Street
                                                      Last 4 digits of account number
                                                      Collections for Dish Network
 Renton, WA 98057
 City                   State      ZIP Code
 Creditors Collection Service                         On which entry in Part 1 or Part 2 did you list the original creditor?
 Name                                                                            Part 1: Creditors with Priority Unsecured Claims
 4530 Old Cove Spring Rd                              Line 4.11 of (Check one): Part 2: Creditors with Nonpriority Unsecured Claims
 Number    Street
                                                      Last 4 digits of account number
                                                      Collections for Raleigh Radiology Associates, Inc
 Cove Spring, VA 24018
 City                State         ZIP Code
 Diversified Consultants, Inc                         On which entry in Part 1 or Part 2 did you list the original creditor?
 Name                                                                            Part 1: Creditors with Priority Unsecured Claims
 10550 Deerwood Park Blvd #309                        Line 4.2 of (Check one): Part 2: Creditors with Nonpriority Unsecured Claims
 Number    Street
                                                      Last 4 digits of account number
                                                      Collections for AT&T
 Dountroon, FL 32256
 City                State         ZIP Code
 Meade Associates                                     On which entry in Part 1 or Part 2 did you list the original creditor?
 Name                                                                            Part 1: Creditors with Priority Unsecured Claims
 737 Enterprise Dr.                                   Line 4.6 of (Check one): Part 2: Creditors with Nonpriority Unsecured Claims
 Number    Street
                                                      Last 4 digits of account number
                                                      Collections for Kroger
 Lewis Center, OH 43035
 City                State         ZIP Code
 Online Collections                                   On which entry in Part 1 or Part 2 did you list the original creditor?
 Name                                                                            Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 1489                                        Line 4.13 of (Check one): Part 2: Creditors with Nonpriority Unsecured Claims
 Number     Street
                                                      Last 4 digits of account number
                                                      Collections for Wilson Utilities
 Winterville, NC 28590
 City                 State        ZIP Code
 Online Collections                                   On which entry in Part 1 or Part 2 did you list the original creditor?
 Name                                                                            Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 1489                                        Line 4.4 of (Check one): Part 2: Creditors with Nonpriority Unsecured Claims
 Number     Street
                                                      Last 4 digits of account number
                                                      Collections for Duke Energy
 Winterville, NC 28590
 City                 State        ZIP Code




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                         page 7
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                                      Case 18-80386
                 Lent Christopher Carr II
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                                                                                         Case number (if known)
                 First Name      Middle Name        Last Name

 Part 4:    Add the Amounts for Each Type of Unsecured Claim

 8. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159. Add the
    amounts for each type of unsecured claim.

                                                                                                                                 Total claim
 Total     6a. Domestic support obligations                                                                               6a.      $           0.00
 claims
 from      6b. Taxes and certain other debts you owe the government                                                       6b.      $           0.00
 Part 1
           6c. Claims for death or personal injury while you were Intoxicated                                             6c.      $           0.00
           6d. Other Add all other priority unsecured claims. Write that amount here.
                                                                                                                          6d. + $              0.00
           6e. Total Add lines 6a through 6d.
                                                                                                                          6e.      $           0.00



                                                                                                                                 Total claim
 Total     6f. Student loans                                                                                               6f.     $           0.00
 claims
 from      6g. Obligations arising out of a separation agreement or divorce that you did not report as priority claims    6g.      $           0.00
 Part 2
           6h. Debts to pension or profit-sharing plans, and other similar debts                                          6h.      $           0.00
           6i. Other Add all other nonpriority unsecured claims. Write that amount here.
                                                                                                                           6i. + $       19,734.00
           6j. Total Add lines 6f through 6i.
                                                                                                                           6j.     $      19,734.00




Official Form 106E/F                             Schedule E/F: Creditors Who Have Unsecured Claims                                             page 8
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 Fill in this information to identify your case:

 Debtor 1                Lent Christopher Carr II
                        First Name         Middle Name       Last Name

 Debtor 2                Deltarina V. Carr
 (Spouse, if filing)    First Name         Middle Name       Last Name


 United States Bankruptcy Court for the:            Eastern District of North Carolina
                                                                                                               Check if this is:
 Case number
                                                                                                                 An amended filing
 (if known)




Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases
                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write
your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

       No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
   rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
   leases.

         Person or company with whom you have the contract or lease                             State what the contract or lease is for

          Name


          Number       Street



          City                   State   ZIP Code


          Name


          Number       Street



          City                   State   ZIP Code


          Name

          Number       Street



          City                   State   ZIP Code

          Name


          Number       Street



          City                   State   ZIP Code




Official Form 106G                                       Schedule G: Executory Contracts and Unexpired Leases                                       page 1
                                             Case 18-80386                 Doc 1     Filed 03/20/18         Page 44 of 68

 Fill in this information to identify your case:

 Debtor 1                Lent Christopher Carr II
                         First Name          Middle Name       Last Name

 Debtor 2                Deltarina V. Carr
 (Spouse, if filing)     First Name          Middle Name       Last Name

 United States Bankruptcy Court for the:             Eastern District of North Carolina
                                                                                                                 Check if this is:
 Case number
 (if known)
                                                                                                                   An amended filing




Official Form 106H
Schedule H: Your Codebtors                                                                                                                          12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and
number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case
number (if known). Answer every question.

1. Do you have any codebtors?(If you are filing a joint case, do not list either spouse as a codebtor.)

       No
       Yes

2. Within the last 8 years, have you lived in a community property state or territory?(Community property states and territories include Arizona,
   California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           No
           Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.

         Name of your spouse, former spouse, or legal equivalent


         Number        Street


         City                    State    ZIP Code


3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
   2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
   Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.


          Column 1: Your codebtor                                                  Column 2: The creditor to whom you owe the debt

                                                                                   Check all schedules that apply:
                                                                                     Schedule D, line
          Name                                                                       Schedule E/F, line
                                                                                     Schedule G, line
          Number       Street

          City                    State   ZIP Code
                                                                                     Schedule D, line
          Name                                                                       Schedule E/F, line
                                                                                     Schedule G, line
          Number       Street


          City                    State   ZIP Code
                                                                                     Schedule D, line
          Name                                                                       Schedule E/F, line
                                                                                     Schedule G, line
          Number       Street


          City                    State   ZIP Code


Official Form 106H                                                         Schedule H: Your Codebtors                                               page 1
                                           Case 18-80386             Doc 1              Filed 03/20/18             Page 45 of 68

 Fill in this information to identify your case:

 Debtor 1              Lent Christopher Carr II
                       First Name       Middle Name      Last Name

 Debtor 2              Deltarina V. Carr
 (Spouse, if filing)   First Name       Middle Name      Last Name

 United States Bankruptcy Court for the:        Eastern District of North Carolina
                                                                                                                              Check if this is:
 Case number
 (if known)
                                                                                                                                An amended filing
                                                                                                                                A supplement showing post-petition chapter
                                                                                                                                13 income as of the following date:

                                                                                                                                 MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:         Describe Employment

 1. Fill in your employment
    information.
                                                                                          Debtor 1                                     Debtor 2 or non-filing spouse
    If you have more than one job,
    attach a separate page with
    information about additional      Employment status                     Employed                                                  Employed
    employers.
                                                                            Not Employed                                              Not Employed
    Include part-time, seasonal, or
    self-employed work.               Occupation
    Occupation may Include student
    or homemaker, if it applies.      Employer’s name

                                      Employer’s address
                                                                     Number    Street                                          Number    Street




                                                                     City                State   ZIP Code                      City               State    ZIP Code

                                      How long employed there?


 Part 2:         Give Details About Monthly Income
  Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
  spouse unless you are separated.

  If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
  more space, attach a separate sheet to this form.

                                                                                                            Debtor 1                     Debtor 2 or
                                                                                                                                       non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
                                                                                                 2.     $              0.00             $                 0.00
    deductions). If not paid monthly, calculate what the monthly wage would be.
 3. Estimate and list monthly overtime pay.
                                                                                                 3. + $                0.00           + $                 0.00
 4. Calculate gross income. Add line 2 + line 3.
                                                                                                 4.     $              0.00              $                0.00




Official Form 106I                                                          Schedule I: Your Income                                                                    page 1
Debtor 1
                                    Case 18-80386
                 Lent Christopher Carr II
                                                               Doc 1        Filed 03/20/18   Page 46 of 68
                                                                                         Case number (if known)
                 First Name     Middle Name        Last Name

                                                                                            Debtor 1                Debtor 2 or
                                                                                                                  non-filing spouse
    Copy line 4 here.                                                         ➜
                                                                                   4.   $              0.00         $            0.00
  5. List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                            5a.   $              0.00         $            0.00
    5b. Mandatory contributions for retirement plans                              5b.   $              0.00         $            0.00
    5c. Voluntary contributions for retirement plans                              5c.   $              0.00         $            0.00
    5d. Required repayments of retirement fund loans                              5d.   $              0.00         $            0.00
    5e. Insurance                                                                 5e.   $              0.00         $            0.00
    5f. Domestic support obligations                                              5f.   $              0.00         $            0.00
    5g. Union dues                                                                5g.   $              0.00         $            0.00
    5h. Other deductions Specify:                                                 5h. + $              0.00       + $            0.00
  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +            $                           $
                                                                                   6.                  0.00                      0.00
     5h.
  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.           7.   $              0.00         $            0.00
  8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
     profession, or farm
     Attach a statement for each property and business showing gross receipts, 8a.      $              0.00         $            0.00
     ordinary and necessary business expenses, and the total monthly net
     income.
     8b. Interest and dividends                                                8b.      $              0.00         $            0.00
    8c. Family support payments that you, a non-filing spouse, or a
    dependent regularly receive                                                         $                           $
                                                                                  8c.                  0.00                      0.00
    Include alimony, spousal support, child support, maintenance, divorce
    settlement, and property settlement.
    8d. Unemployment compensation                                                 8d.   $              0.00         $            0.00
    8e. Social Security                                                           8e.   $         562.50            $         1,312.50
    8f. Other government assistance that you regularly receive
    Include cash assistance and the value (if known) of any non-cash
    assistance that you receive, such as food stamps (benefits under the          8f.   $         842.00            $            0.00
    Supplemental Nutrition Assistance Program) or housing subsidies.
    Specify: Food Stamps (842.00)
    8g. Pension or retirement income                                              8g.   $              0.00         $            0.00
     8h. Other monthly income. Specify:
                                                                                  8h. + $       3,000.00          + $            0.00
      Contribution from Adult Daughter (3,000.00)
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.
                                                                                   9.   $       4,404.50            $         1,312.50

 10. Calculate monthly income.
     Add line 7 + line 9. Add the entries in line 10 for Debtor 1 and Debtor 2 or 10. $         4,404.50      +     $         1,312.50   =     $       5,717.00
     non-filing spouse
 11. State all other regular contributions to the expenses that you list in Schedule J.

    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

    Specify:                                                                                                                                   $           0.00
                                                                                                                                    11. +
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                12.                $       5,717.00

                                                                                                                                             Combined monthly
                                                                                                                                             income
 13. Do you expect an increase or decrease within the year after you file this form?
         No.                                                                                                            N/A
         Yes. Explain:
Official Form 106I                                           Schedule I: Your Income                                                                       page 2
                                             Case 18-80386                    Doc 1        Filed 03/20/18          Page 47 of 68

 Fill in this information to identify your case:

 Debtor 1               Lent Christopher Carr II
                        First Name          Middle Name           Last Name

 Debtor 2               Deltarina V. Carr
 (Spouse, if filing)    First Name          Middle Name           Last Name
                                                                                                                         Check if this is:
 United States Bankruptcy Court for the:              Eastern District of North Carolina                                   An amended filing
                                                                                                                           A supplement showing post-petition chapter
 Case number                                                                                                               13 expenses as of the following date:
 (if known)
                                                                                                                            MM / DD / YYYY


Official Form 106J
Schedule J: Your Expenses                                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1:         Describe Your Household

 1. Is this a joint case?

      No. Go to line 2.
      Yes. Does Debtor 2 live in a separate household?
              No
              Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.


  2. Do you have dependents?                                                    Dependent’s relationship to   Dependent’s Age   Does dependent live with you?
                                         No
                                                                                Debtor 1 or Debtor 2
    Do not list Debtor 1 and Debtor 2.   Yes. Fill out this information for
                                       each dependent
    Do not state the dependents’                                               Daughter                       16                  No     Yes
    names.
                                                                                                                                  No     Yes

                                                                                                                                  No     Yes

                                                                                                                                  No     Yes

                                                                                                                                  No     Yes


  3. Do your expenses include              No
     expenses of people other than         Yes
     yourself and your dependents?



 Part 2:         Estimate Your Ongoing Monthly Expenses
  Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
  expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
  applicable date.

   Include expenses paid for with non-cash government assistance if you know the value
                                                                                                                                                          Your expenses
   of such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the ground                                 $
                                                                                                                                                   4.               0.00
    or lot.
    If not included in line 4:
    4a. Real estate taxes                                                                                                                         4a.     $         0.00
    4b. Property, homeowner’s, or renter’s insurance                                                                                              4b.     $         0.00
    4c. Home maintenance, repair, and upkeep expenses                                                                                             4c.     $       420.00
    4d. Homeowner’s association or condominium dues                                                                                               4d.     $         0.00




Official Form 106J                                                            Schedule J: Your Expenses                                                            page 1
Debtor 1          Lent Christopher Carr II
                                           Case 18-80386         Doc 1     Filed 03/20/18   Page 48 of 68
                                                                                        Case number (if known)
                  First Name       Middle Name       Last Name

                                                                                                                        Your expenses
   5. Additional mortgage payments for your residence, such as home equity loans
                                                                                                                   5.   $         0.00
   6. Utilities:
      6a. Electricity, heat, natural gas                                                                          6a.   $       366.01
     6b. Water, sewer, garbage collection                                                                         6b.   $        30.14
     6c. Telephone, cell phone, Internet, satellite, and cable services                                           6c.   $       210.00
     6d. Other. Specify:                                                                                          6d.   $         0.00
   7. Food and housekeeping supplies                                                                               7.   $     1,594.00
   8. Childcare and children’s education costs                                                                     8.   $         0.00
   9. Clothing, laundry, and dry cleaning                                                                          9.   $        21.00
 10. Personal care products and services                                                                          10.   $       190.00
  11. Medical and dental expenses                                                                                 11.   $         0.00
 12. Transportation. Include gas, maintenance, bus or train fare. Do not include car payments.                    12.   $       350.00
 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.   $         0.00
 14. Charitable contributions and religious donations                                                             14.   $       106.00
 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
     15a. Life insurance                                                                                         15a.   $         0.00
     15b. Health insurance                                                                                       15b.   $         0.00
     15c. Vehicle insurance                                                                                      15c.   $        36.89
     15d. Other insurance. Specify:                                                                              15d.   $         0.00
 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.                                   $
                                                                                                                  16.             0.00
     Specify:
 17. Installment or lease payments:
     17a. Car payments for Vehicle 1                                                                             17a.   $       210.00
     17b. Car payments for Vehicle 2                                                                             17b.   $         0.00
     17c. Other. Specify:                                                                                        17c.   $         0.00
     17d. Other. Specify:                                                                                        17d.   $         0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted                             $
                                                                                                                  18.             0.00
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).
 19. Other payments you make to support others who do not live with you.                                                $
                                                                                                                  19.             0.00
     Specify:
 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
     20a. Mortgages on other property                                                                            20a.   $         0.00
     20b. Real estate taxes                                                                                      20b.   $         0.00
     20c. Property, homeowner’s, or renter’s insurance                                                           20c.   $         0.00
     20d. Maintenance, repair, and upkeep expenses                                                               20d.   $         0.00
     20e. Homeowner’s association or condominium dues                                                            20e.   $         0.00




Official Form 106J                                               Schedule J: Your Expenses                                       page 2
Debtor 1
                                     Case 18-80386
                 Lent Christopher Carr II
                                                                Doc 1       Filed 03/20/18   Page 49 of 68
                                                                                         Case number (if known)
                 First Name      Middle Name        Last Name

                                                                                                                                       Your expenses
 21. Other. Specify:
                                                                                                                                21. + $             0.00
 22. Calculate your monthly expenses.
     22a. Add lines 4 through 21.
                                                                                                                               22a.     $       3,534.04

     22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
                                                                                                                               22b.     $           0.00

     22c. Add line 22a and 22b. The result is your monthly expenses.
                                                                                                                               22c.     $       3,534.04

 23. Calculate your monthly net income.
     23a. Copy line 12 (your combined monthly income) from Schedule I.                                                         23a.     $       5,717.00
     23b. Copy your monthly expenses from line 22c above.
                                                                                                                               23b. - $         3,534.04
     23c. Subtract your monthly expenses from your monthly income.
     The result is your monthly net income.                                                                                    23c.     $       2,182.96

 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

     For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because
     of a modification to the terms of your mortgage?

       No.                                                                                                       N/A
       Yes. Explain:




Official Form 106J                                              Schedule J: Your Expenses                                                          page 3
                                           Case 18-80386                 Doc 1       Filed 03/20/18              Page 50 of 68

 Fill in this information to identify your case:

 Debtor 1              Lent Christopher Carr II
                       First Name        Middle Name         Last Name

 Debtor 2              Deltarina V. Carr
 (Spouse, if filing)   First Name        Middle Name         Last Name

 United States Bankruptcy Court for the:         Eastern District of North Carolina
                                                                                                                        Check if this is:
 Case number
 (if known)
                                                                                                                          An amended filing




Official Form 106Dec
Declaration About an Individual Debtor’s Schedules                                                                                                                      12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                 Sign Below

 Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

      No
      Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.

    X /s/ Lent C. Carr II                                                                       X /s/ Deltarina Carr
      Signature of Debtor 1                                                                       Signature of Debtor 2

      Date March 20, 2018                                                                         Date March 20, 2018
           MM / DD / YYYY                                                                              MM / DD / YYYY




Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules                                                                  page 1
                                      Case 18-80386               Doc 1              Filed 03/20/18       Page 51 of 68

   Fill in this information to identify your case:

   Debtor 1          Lent Christopher Carr II
                     __________________________________________________________________
                       First Name             Middle Name                Last Name

   Debtor 2            Deltarina V. Carr
                       ________________________________________________________________
   (Spouse, if filing) First Name             Middle Name                Last Name


   United States Bankruptcy Court for the: Eastern District
                                           __________       of North
                                                        District       Carolina
                                                                 of ______________

   Case number         ___________________________________________
    (If known)                                                                                                                             Check if this is an
                                                                                                                                             amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        04/16

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        ✔ Married
        
         Not married

   2. During the last 3 years, have you lived anywhere other than where you live now?

        No
       ✔ Yes. List all of the places you lived in the last 3 years.
                                                                      Do not include where you live now.

                 Debtor 1:                                        Dates Debtor 1         Debtor 2:                                             Dates Debtor 2
                                                                  lived there                                                                  lived there

                                                                                         ✔ Same as Debtor 1
                                                                                                                                                Same as Debtor 1

                  2400 Surry Rd
                 __________________________________________       From
                                                                         Jan 2016
                                                                          ________          ___________________________________________           From ________
                  Number    Street                                                          Number Street
                                                                  To     Mar  2017
                                                                          ________                                                                To    ________
                 __________________________________________                                 ___________________________________________

                  Wilson                 NC 27896
                 __________________________________________                                 ___________________________________________
                 City                    State ZIP Code                                     City                    State ZIP Code

                                                                                         ✔ Same as Debtor 1
                                                                                                                                                Same as Debtor 1

                  1005 Beverly Dr
                 __________________________________________       From
                                                                         Feb  2011
                                                                          ________          ___________________________________________           From ________
                  Number    Street                                                          Number Street
                                                                  To     Jan 2016
                                                                          ________                                                                To    ________
                 __________________________________________                                 ___________________________________________

                 Raleigh                 NC 27610
                 __________________________________________                                 ___________________________________________
                 City                    State ZIP Code                                     City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       ✔ No
       
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).


   Part 2: Explain the Sources of Your Income

Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 1
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Debtor 1        Lent  Christopher Carr II
                 _______________________________________________________                                 Case number (if known)_____________________________________
                 First Name     Middle Name          Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
     ✔
          No
         Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income          Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.      (before deductions and
                                                                                         exclusions)                                         exclusions)


            From January 1 of current year until                Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips           $________________            bonuses, tips          $________________
            the date you filed for bankruptcy:
                                                                Operating a business                                Operating a business


            For last calendar year:                             Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips           $________________            bonuses, tips          $________________
            (January 1 to December 31, 2017
                                       _________)               Operating a business                                Operating a business
                                              YYYY


                                                                Wages, commissions,                              ✔ Wages, commissions,
                                                                                                                  
            For the calendar year before that:
                                                                 bonuses, tips                                        bonuses, tips
                                                                                         $________________                                          37,990.00
                                                                                                                                             $________________
            (January 1 to December 31, 2016
                                       _________)               Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

      No
     
     ✔ Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income         Gross income from
                                                            Describe below.              each source               Describe below.           each source
                                                                                         (before deductions and                              (before deductions and
                                                                                         exclusions)                                         exclusions)



            From January 1 of current year until SS / SSI                                       1,687.50 _____________________
                                                                                                           SS / SSI                      3,937.50
                                                 __________________                     $_________________                       $_________________
            the date you filed for bankruptcy:   Support (est)
                                                 __________________                             9,000.00 _____________________ $_________________
                                                                                        $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:
                                                          SS / SSI
                                                          __________________                    6,612.00 _____________________
                                                                                        $_________________ SS / SSI                   15,750.00
                                                                                                                               $_________________
            (January 1 to December 31,2017
                                      ______)
                                                          Support (est)
                                                          __________________                   36,000.00 _____________________ $_________________
                                                                                        $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            SS / SSI
                                                          __________________                    6,612.00 _____________________
                                                                                        $_________________ SS / SSI                   15,750.00
                                                                                                                               $_________________
            (January 1 to December 31,2016
                                      ______)             __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
                                         Case 18-80386               Doc 1       Filed 03/20/18         Page 53 of 68

Debtor 1      Lent  Christopher Carr II
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

  ✔
         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔
                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________
                      Creditor’s Name
                                                                      _________     $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________            _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      ____________________________________            _________     $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                      _________                                                          Credit card
                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________            _________     $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                      _________                                                          Credit card
                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3
                                          Case 18-80386              Doc 1         Filed 03/20/18         Page 54 of 68

Debtor 1        Lent  Christopher Carr II
                 _______________________________________________________                             Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.
     ✔
          No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount     Amount you still    Reason for this payment
                                                                        payment       paid             owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     ✔
          No
          Yes. List all payments that benefited an insider.
                                                                       Dates of       Total amount     Amount you still    Reason for this payment
                                                                       payment        paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________                             $____________ $____________
                                                                      _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 4
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Debtor 1        Lent  Christopher Carr II
                 _______________________________________________________                                       Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     ✔     Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                Status of the case

                                                                   Tax Foreclosure
                                                                                                         Hoke County District Court
                       County of Hoke v.
            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                        
                                                                                                                                                        ✔   Pending

             Lent Christopher Carr et all
                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number       18 CVD 31
                              ________________________                                                  ________________________________________
                                                                                                        City                   State   ZIP Code


                                                                   Appeal from clerk regarding
                                                                                                Hoke County Superior Court
                       County of Hoke v.
            Case title_____________________________
                                                                   tax judgment matter         ________________________________________
                                                                                               Court Name
                                                                                                                                        
                                                                                                                                        ✔                   Pending

             Jannetta P. Jordan et all
                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

                        18 CVS 31
            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.
     ✔ No. Go to line 11.
     
      Yes. Fill in the information below.
                                                                              Describe the property                                     Date         Value of the property



                 _________________________________________                                                                              __________    $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________     $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________
                 City                               State   ZIP Code
                                                                                  Property was garnished.
                                                                                  Property was attached, seized, or levied.



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Debtor 1          Lent  Christopher Carr II
                   _______________________________________________________                               Case number (if known)_____________________________________
                   First Name    Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     ✔
          No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action      Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number      Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔     No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     ✔     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave       Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________          $_____________

           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________          $_____________


           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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Debtor 1          Lent  Christopher Carr II
                   _______________________________________________________                                       Case number (if known)_____________________________________
                   First Name     Middle Name                Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

          No
     
     ✔     Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                     Describe what you contributed                                         Date you          Value
            that total more than $600                                                                                                     contributed

                                                                   Tithes and offerings
           Emmaus PAB Church Inc.
           _____________________________________                                                                                          2017
                                                                                                                                          _________              9,462.93
                                                                                                                                                            $_____________
           Charity’s Name


           _____________________________________                                                                                          _________         $_____________


           _____________________________________
           Number      Street



           _____________________________________
           City           State        ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

      No
     
     ✔ Yes. Fill in the details.

            Describe the property you lost and                       Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                         loss              lost
                                                                     Include the amount that insurance has paid. List pending insurance
                                                                     claims on line 33 of Schedule A/B: Property.

           2004 Jeep Liberty, converted by                         N/A                                                                    02/13/2018             2,500.00
           Jannetta Jordan, prior owner                                                                                                   _________         $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     ✔
          Yes. Fill in the details.

                                                                     Description and value of any property transferred                    Date payment or   Amount of payment
            Fabricius  & Fabricius PLLC
            ___________________________________
                                                                                                                                          transfer was
            Person Who Was Paid                                                                                                           made
                                                                   Attorney Fees
            PO  Box 1230
            ___________________________________
            Number       Street                                                                                                           03/20/2018
                                                                                                                                          _________                 800.00
                                                                                                                                                            $_____________

            ___________________________________
                                                                                                                                          _________         $_____________
            Knightdale          NC 27545
            ___________________________________
            City                         State    ZIP Code

            www.fabriciuslaw.com
            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



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Debtor 1      Lent  Christopher Carr II
               _______________________________________________________                                      Case number (if known)_____________________________________
                  First Name      Middle Name              Last Name




                                                                   Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                   transfer was made      payment
           DECAF
           ____________________________________ Credit Counseling
           Person Who Was Paid
                                                                                                                                   03/05/2018
                                                                                                                                   _________                      50.00
                                                                                                                                                         $_____________
           112  Goliad St.
           ____________________________________
           Number       Street

                                                                                                                                   _________             $_____________
           ____________________________________

           Benbrook            TX     76126
           ____________________________________
           City                        State    ZIP Code


           www.bkcert.com
           ________________________________________________
           Email or website address

           ___________________________________
           Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     ✔ No
     
      Yes. Fill in the details.
                                                                   Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                   transfer was
           ____________________________________                                                                                    made
           Person Who Was Paid

           ____________________________________                                                                                    _________             $____________
           Number        Street

           ____________________________________
                                                                                                                                   _________             $____________
           ____________________________________
           City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     ✔ No
     
      Yes. Fill in the details.
                                                                   Description and value of property        Describe any property or payments received      Date transfer
                                                                   transferred                              or debts paid in exchange                       was made
           ___________________________________
           Person Who Received Transfer

           ___________________________________                                                                                                              _________
           Number       Street

           ___________________________________

           ___________________________________
           City                        State    ZIP Code


           Person’s relationship to you _____________

           ___________________________________
           Person Who Received Transfer
                                                                                                                                                            _________
           ___________________________________
           Number       Street

           ___________________________________

           ___________________________________
           City                        State    ZIP Code

           Person’s relationship to you _____________

Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
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Debtor 1        Lent  Christopher Carr II
                 _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     ✔     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     ✔
          No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number     Type of account or        Date account was       Last balance before
                                                                                                       instrument                closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                   XXXX–___ ___ ___ ___                Checking                _________              $___________
            ____________________________________
            Number       Street
                                                                                                        Savings
            ____________________________________                                                        Money market
            ____________________________________
                                                                                                        Brokerage
            City                       State    ZIP Code
                                                                                                        Other__________

            ____________________________________                   XXXX–___ ___ ___ ___                Checking                _________              $___________
            Name of Financial Institution
                                                                                                        Savings
            ____________________________________
            Number       Street                                                                         Money market
            ____________________________________                                                        Brokerage
            ____________________________________                                                        Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔ No
      Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number   Street

            ____________________________________
                                                                  _______________________________________
                                                                  City       State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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Debtor 1           Lent  Christopher Carr II
                    _______________________________________________________                                             Case number (if known)_____________________________________
                    First Name     Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    ✔
          No
          Yes. Fill in the details.
                                                                    Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                         have it?


             ___________________________________                    _______________________________________                                                               No
             Name of Storage Facility                               Name
                                                                                                                                                                          Yes
             ___________________________________                    _______________________________________                                                              
             Number       Street                                    Number    Street

             ___________________________________                    _______________________________________
                                                                    City State ZIP Code
             ___________________________________
             City                        State    ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     ✔ No
     
      Yes. Fill in the details.
                                                                   Where is the property?                                    Describe the property                   Value


             ___________________________________
             Owner’s Name                                                                                                                                            $__________
                                                                  _________________________________________
             ___________________________________                  Number     Street
             Number       Street
                                                                  _________________________________________
             ___________________________________
                                                                  _________________________________________
             ___________________________________                  City                             State     ZIP Code
             City                        State    ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     ✔
          No
          Yes. Fill in the details.
                                                                    Governmental unit                            Environmental law, if you know it                  Date of notice



            ____________________________________                   _______________________________                                                                   _________
            Name of site                                           Governmental unit

            ____________________________________                   _______________________________
            Number       Street                                    Number    Street

                                                                   _______________________________
            ____________________________________                   City                   State   ZIP Code


            ____________________________________
            City                        State    ZIP Code




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Debtor 1        Lent  Christopher Carr II
                 _______________________________________________________                                               Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     ✔ No
     
      Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                   Date of notice


            ____________________________________ _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                        _________

            ____________________________________ _______________________________
            Number       Street                                   Number     Street


            ____________________________________ _______________________________
                                                                  City                  State    ZIP Code

            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     ✔
          No
          Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                        case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                         Pending
           ______________________________________
                                                                                                                                                                         On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                   Concluded

           ______________________________________
                                                                    ________________________________
           Case number                                              City                        State   ZIP Code                                                        

 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     ✔ No. None of the above applies. Go to Part 12.
     
      Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

                                                                                                                                      From      _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

            ____________________________________
                                                                                                                                      From      _______ To _______
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 11
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Debtor 1        Lent  Christopher Carr II
                 _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name      Middle Name          Last Name




                                                                                                                        Employer Identification number
                                                                Describe the nature of the business
                                                                                                                        Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                        From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

          No
          Yes. Fill in the details below.

                                                                Date issued



            ____________________________________                ____________
            Name                                                MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



       /s/ Lent C. Carr II
            ______________________________________________                    _____________________________
                                                                               /s/ Deltarina Carr
            Signature of Debtor 1                                                Signature of Debtor 2


                  03/20/2018
            Date ________________                                                      03/20/2018
                                                                                 Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      ✔
            No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      ✔ No
      
       Yes. Name of person_____________________________________________________________.                        Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                                 Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 12
                                             Case 18-80386                  Doc 1        Filed 03/20/18                Page 63 of 68

 Fill in this information to identify your case:                                                                               Check as directed in lines 17 and 21:

                                                                                                                               According to the calculations required by this
 Debtor 1              Lent Christopher Carr II                                                                                Statement:
                       First Name           Middle Name         Last Name
                                                                                                                                  1. Disposable income is not determined
 Debtor 2              Deltarina V. Carr                                                                                          under 11 U.S.C. § 1325(b)(3).
 (Spouse, if filing)   First Name           Middle Name         Last Name
                                                                                                                                  2. Disposable income is determined under
                                                                                                                                  11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:             Eastern District of North Carolina
                                                                                                                                  3. The commitment period is 3 years.
 Case number
 (if known)
                                                                                                                                  4. The commitment period is 5 years.
                                                                                                                                  Check if this is an amended filing


Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period
                                                                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).

 Part 1:         Calculate Your Average Monthly Income

 1. What is your marital and filing status? Check one only.

      Not married. Fill out Column A, lines 2-11.
      Married. Fill out both Columns A and B, lines 2-11.
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. § 101(10A). For
    example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the 6 months, add the income
    for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
    income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                                          Column A                     Column B
                                                                                                          Debtor 1                    Debtor 2 or
                                                                                                                                    non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions                                $               0.00            $              0.00
    (before all payroll deductions).
 3. Alimony and maintenance payments.                                                                 $               0.00            $              0.00
    Do not include payments from a spouse if Column B is filled in.
 4. All amounts from any source which are regularly paid for household
    expenses of you or your dependents, including child support.
    Include regular contributions from an unmarried partner, members of your
    household, your dependents, parents, and roommates. Include regular
    contributions from a spouse only if Column B is not filled in. Do not include                     $               0.00            $              0.00
    payments you listed on line 3.
 5. Net income from operating a business, profession, or farm
                                      Debtor 1               Debtor 2
    Gross receipts (before all      $          0.00      $             0.00
    deductions)
    Ordinary and necessary        -$           0.00    -$              0.00
    operating expenses
    Net monthly income from
                                                                               Copy
    a business, profession, or      $                    $             0.00 here →
    farm
                                               0.00                                                   $               0.00            $              0.00
 6. Net income from rental and other real property
                                      Debtor 1               Debtor 2
    Gross receipts (before all      $          0.00      $             0.00
    deductions)
    Ordinary and necessary        -$           0.00    -$              0.00
    operating expenses
    Net monthly income from
    rental or other real                                                       Copy
                                    $          0.00      $             0.00 here →                    $               0.00            $              0.00
    property


Official Form 122C-1                Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                       page 1
Debtor 1                 Lent Christopher Carr II
                                                      Case 18-80386                           Doc 1              Filed 03/20/18CasePage  64 of 68
                                                                                                                                    number (if known)
                         First Name             Middle Name                   Last Name

                                                                                                                                     Column A                 Column B
                                                                                                                                     Debtor 1                Debtor 2 or
                                                                                                                                                           non-filing spouse
  7. Interest, dividends, and royalities                                                                                         $             0.00         $           0.00
  8. Unemployment compensation
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it
     here:..................................↓
     For you ......................................................................... $_____________
                                                                                                                                 $             0.00         $           0.00
     For your spouse ........................................................... $_____________
  9. Pension or retirement income.
     Do not include any amount received that was a benefit under the Social
                                                                                                                                 $             0.00         $           0.00
     Security Act.
 10. Income from all other sources not listed above.
     Specify the source and amount. Do not include any benefits received under
     the Social Security Act or payments received as a victim of a war crime, a
     crime against humanity, or international or domestic terrorism. If necessary,
     list other sources on a separate page and put the total on line 10c.
     10a. Contribution from Adult Daugther                                                                                       $      3,000.00            $           0.00
     10b.                                                                                                                        $             0.00         $           0.00
     10c. Total amounts from separate pages, if any.                                                                         + $               0.00       + $           0.00
 11. Calculate your total average monthly income. Add lines 2 through 10 for
     each column. Then add the total for Column A to the total for Column B.                                                     $      3,000.00      +     $           0.00         =        $      3,000.00

                                                                                                                                                                                         Total average monthly
                                                                                                                                                                                         income

 Part 2:          Determine How to Measure Your Deductions from Income

 12. Copy your total average monthly income from line 11.                                                                                                                                 $        3,000.00
                                                                                                                                                                               12.
 13. Calculate the marital adjustment. Check one:
        You are not married. Fill in 0 in line 13d.
        You are married and your spouse is filing with you. Fill in 0 in line 13d.
        You are married and your spouse is not filing with you.
     Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
     or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your
     dependents.

     In lines 13a-d, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
     list additional adjustments on a separate page.

     If this adjustment does not apply, enter 0 on line 13e.

      13a.                                                                                                                                 $              0.00

      13b.                                                                                                                                 $              0.00

      13c.                                                                                                                                 $              0.00

      13d.                                                                                                                               +$               0.00

      13e. Total .................................................................................................................         $              0.00 Copy
                                                                                                                                                               here →          13. - $                  0.00
 14. Your current monthly income. Subtract line 13d from line 12.
                                                                                                                                                                                          $        3,000.00
                                                                                                                                                                               14.

   15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here→                                                                                                                                                            $        3,000.00
                                                                                                                                                                           15a.
           Multiply line 15a by 12 (the number of months in a year).
                                                                                                                                                                                              x 12
        15b. The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                                          $       36,000.00
                                                                                                                                                                           15b.




Official Form 122C-1                     Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                        page 2
Debtor 1             Lent Christopher Carr II
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                                                                                                                number (if known)
                     First Name         Middle Name             Last Name

 16. Calculate the median family income that applies to you. Follow these steps:
     16a. Fill in the state in which you live.  NC
     16b. Fill in the number of people in your household.     3
     16c. Fill in the median family income for your state and size of household..............................................................................          $     64,977.00
                                                                                                                                                                16c.
     To find a list of applicable median income amounts, go online using the link specified in the separate instructions for this
     form. This list may also be available at the bankruptcy clerk’s office.
 17. How do the lines compare?
     17a. Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not
     determined under 11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form
     122C-2).
     17b. Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined
     under 11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 122C-2). On
     line 39 of that form, copy your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

 18. Copy your total average monthly income from line 11.                                                                                                              $      3,000.00
                                                                                                                                                                 18.
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13d.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.
                                                                                                                                                                19a. - $          0.00
     19b. Subtract line 19a from line 18.
                                                                                                                                                                       $      3,000.00
                                                                                                                                                                19b.
 20. Calculate your current monthly income for the year. Follow these steps:
     20a. Copy line 19b                                                                                                                                                $      3,000.00
                                                                                                                                                                20a.
        Multiply by 12 (the number of months in a year).
                                                                                                                                                                           x 12
     20b. The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                       $     36,000.00
                                                                                                                                                                20b.
     20c. Copy the median family income for your state and size of household from line 16c.
                                                                                                                                                                       $     64,977.00
                                                                                                                                                                20c.
 21. How do the lines compare?
       Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The
     commitment period is 3 years. Go to Part 4.
       Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
     check box 4, The commitment period is 5 years. Go to Part 4.


 Part 4:       Sign Below

  By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

  X /s/ Lent C. Carr II                                                                                X /s/ Deltarina Carr
    Signature of Debtor 1                                                                                 Signature of Debtor 2

    Date March 20, 2018                                                                                   Date March 20, 2018
         MM / DD / YYYY                                                                                        MM / DD / YYYY

  If you checked 17a, do NOT fill out or file Form 122C-2.

  If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                        page 3
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                                                        United States Bankruptcy Court
                                                          Eastern District of North Carolina

In re     Lent Christopher Carr II and Deltarina V. Carr
          _____________________________________________________                                                            Case No______________________
                                                         Debtor(s)                                                         Chapter ______________________
                                                                                                                                   13

                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above- named
   debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to
   be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection
   with the bankruptcy case is as follows:
               For legal services, I have agreed to accept .............................................                      $ ______________
                                                                                                                                5,000.00

               Prior to the filing of this statement, I have received ..............................                          $ ______________
                                                                                                                                800.00

               Balance Due..............................................................................................      $ ______________
                                                                                                                                4,200.00

    0.00 of the filing fee has been paid.
2. $_______
3. The source of the compensation paid to me was:
              ✔      Debtor                  Other (specify)
4. The source of compensation to be paid to me is:
              ✔      Debtor                  Other (specify)
5.   ✔    I have not agreed to share the above-disclosed compensation w ith any other person unl ess they are members and
          associates of my law firm.
          I have agreed to share the above-disclosed compensation w ith a other person or persons w ho are not members or
          associates of my law firm. A copy of the agreement, together w ith a list of the names of the people sharing in the
          compensation, is attached.
6. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
   including:
        a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a
            petition in bankruptcy;
        b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
        c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
            thereof
        d. Other matters required by local rule
7. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
        Adversary proceedings, non-base matters, conversion to or represenation in other chapters, non-bankruptcy representation.

                                                CERTIFICATION
I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
representation of the debtor(s) in this bankruptcy proceeding.

       03/20/2018
Dated: ____________________________                                                /s/ Erich M. Fabricius
                                                                                   _______________________________________
                                                                                   Erich M. Fabricius
                                                                                   NC Bar 39667
                                                                                   Fabricius & Fabricus PLLC
                                                                                   P.O. Box 1230
                                                                                   Knightdale, NC 27545
                                                                                   919-295-6001 Fax: 919-890-3833
                                                                                   emf@fabriciuslaw.com
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ACS/BoA                                            Mariner Finance, LLC
P.O. Box 7060                                      1333 Scotland Crossing Dr.
Utica, NY 13504-7060                               Laurinburg, NC 28352

AMCOL Systems, Inc.                                Meade Associates
PO Box 21625                                       737 Enterprise Dr.
Columbia, SC 29221                                 Lewis Center, OH 43035

AT&T                                               New South Finance
1801 Valley View Ln                                2107 Chester Ridge Dr.
Dallas TX 75234-8906                               High Point, NC 27262

Convergent Outsourcing                             North Carolina Dept of Revenue
PO Box 9004                                        Office Services Division
Renton, WA 98057                                   Bankruptcy Unit
                                                   P.O. Box 1168
Creditors Collection Service                       Raleigh, NC 27602-1168
4530 Old Cove Spring Rd
Cove Spring, VA 24018                              Online Collections
                                                   P.O. Box 1489
Dish Network                                       Winterville NC 28590
9601 S. Meridian Blvd.
Englewood, CO 80112                                Payliance
                                                   Eastern Oral Ste 120
Diversified Consultants, Inc                       Columbus, OH 43219
10550 Deerwood Park Blvd #309
Dountroon, FL 32256                                Pitt County Tax Collector
                                                   P.O. Box 43
Duke Energy                                        Greenville, NC 27835
PO Box 70515
Charlotte, NC 28272                                PSNC Energy
                                                   PO Box 100256
Hicks Motor Sales                                  Columbia, SC 29202
532 Hillsboro St.
Oxford, NC 27565                                   Raleigh Radiology Associates, Inc
                                                   PO Box 2090
Hoke County District Attorney                      Morrisville, NC 25760
231 N Main St
Raeford, NC 28376                                  Rudolph K. Smith
                                                   RKS Law
Hoke County Tax Collector                          PO Box 2095
227 N. Main St.                                    Fayetteville, NC 28302-2095
Raeford, NC 28376
                                                   WakeMed
Internal Revenue Service                           PO Box 29516
P.O. Box 7346                                      Raleigh, NC 27626
Philadelphia, PA 19101-7346
                                                   Wilson Utilities
Kroger                                             208 Nash St E
1014 Vine St                                       Wilson, NC 27893
Cincinnati, OH 45202
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                                    United States Bankruptcy Court
                                         Eastern District of North Carolina

       Lent C. Carr, II &
In re Deltarina Carr,                                                       Case No.
                                Debtor
                                                                            Chapter 13

                                VERIFICATION OF CREDITOR MATRIX
The above-named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of their
knowledge.

Date   March 20, 2018                                                     /s/ Lent C. Carr II
                                                                          Signature of Debtor 1


Date   March 20, 2018                                                     /s/ Deltarina Carr
                                                                          Signature of Debtor 2 (if any)


I hereby certify under penalty of perjury that the attached list of creditors which has been prepared in the format
required by the clerk is true and accurate to the best of my knowledge and includes all creditors scheduled in the
petition.

Date   March 20, 2018                                                     /s/ Erich M. Fabricius
                                                                          Signature of Attorney
                                                                          Erich M. Fabricius
                                                                          NC Bar 39667
                                                                          Fabricius & Fabricus PLLC
                                                                          P.O. Box 1230
                                                                          Knightdale, NC 27545
                                                                          919-295-6001 Fax: 919-890-3833
                                                                          emf@fabriciuslaw.com
